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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA


 KIM SNYDER, on behalf of herself and            )
 all others similarly situated,                  )
                                Plaintiff,       ) Case No. 21-cv-1049 (JRT/BRT)
 v.                                              )
                                                 ) CLASS ACTION
 UNITEDHEALTH GROUP, INC.;                       )
 THE BOARD OF DIRECTORS OF                       )
 UNITEDHEALTH GROUP, INC.                        )
 AND ITS MEMBERS;                                )
 DAVID S. WICHMANN;                              )
 JOHN REX; AND                                   )
 THE UNITEDHEALTH GROUP                          )
 EMPLOYEE BENEFITS PLANS                         )
 INVESTMENT COMMITTEE AND                        )
 ITS MEMBERS.                                    )
                     Defendants.


                AMENDED CLASS COMPLAINT FOR DAMAGES


       I.     INTRODUCTION

       1.     This case involves protracted breaches of fiduciary duties under the

Employee Retirement Income Security Act (“ERISA”) by the fiduciaries of the

UnitedHealth Group 401(k) Savings Plan (“Plan”).           ERISA requires fiduciaries of

retirement plans to closely monitor Plan investments, promptly remove imprudent

investments, and to make all investment decisions based solely in the interests of the Plan’s

participants. Here, the Defendants—the UnitedHealth Group, Inc., David S. Wichmann,

John Rex, the Board of Directors of UnitedHealth Group, Inc. and its members, and the



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UnitedHealth Group Employee Benefits Plans Investment Committee and its members

(collectively, “UnitedHealth” or “UnitedHealth Defendants”)—did just the opposite.

       2.     The UnitedHealth Defendants kept on the Plan one of the worst performing

investment suites in the entire market—the Wells Fargo Target Fund Suite—and made it

the default investment for the Plan’s participants for over a decade. Throughout its entire

existence, the Wells Fargo Target Fund Suite delivered abysmal investment results, and

any prudent fiduciary would have swiftly removed the Wells Fargo Target Fund Suite. In

fact, after consulting with the Plan’s independent investment consultant, Mercer, the

Investment Committee itself recognized by 2016 that the Wells Fargo Target Fund Suite

should be removed.

       3.     But UnitedHealth’s executive leadership, led by CFO John Rex, focused on

UnitedHealth’s lucrative business relationships with Wells Fargo and overruled the plan to

remove the Wells Fargo Target Fund Suite. To justify keeping Wells Fargo, UnitedHealth

sidelined the Plan’s independent investment consultant from the decision-making process,

threw out key findings that the Investment Committee had made about what type of target

date suite would best serve the Plan’s participants, abandoned the Investment Committee’s

established criteria for screening target date managers, and concocted a pretext to justify

retaining Wells Fargo’s target date funds on the Plan.

       4.     The UnitedHealth Defendants’ decision to retain Wells Fargo was grossly

imprudent and patently violated the Plan’s Investment Policy Statement. Rather than

acting with a singular focus on the needs of the Plan’s participants and beneficiaries, the

UnitedHealth Defendants made the decision at least in part to curry favor with, and benefit,
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UnitedHealth’s key business partner, Wells Fargo, and advance UnitedHealth’s self-

interests. In doing so, the UnitedHealth Defendants flagrantly violated ERISA.

       II.    OVERVIEW OF CLAIMS

       5.     Plaintiff Kim Snyder brings this action against the UnitedHealth Defendants

under 29 U.S.C. §1132(a)(2) and (3), individually and on behalf of the Plan and a class of

participants and beneficiaries of the Plan affected by the challenged conduct of the

UnitedHealth Defendants.

       6.     The UnitedHealth Defendants are fiduciaries of the Plan. Accordingly, when

designating the different investment options for inclusion in the Plan, UnitedHealth

Defendants had fiduciary duties to independently investigate and regularly monitor each

of the Plan’s investment options with the care and skill of a prudent investor, to abide by

governing Plan documents, to act for the exclusive benefit of the Plan’s participants and

beneficiaries, and to refrain from prohibited transactions. The UnitedHealth Defendants

breached all of these fiduciary duties.

       7.     The UnitedHealth Group Employee Benefits Plans Investment Committee

(the “Investment Committee”) is one of the Plan’s fiduciaries that designates the

investment options available under the Plan. As part of that process, the Investment

Committee selects a default option in which a participant’s contributions are invested

automatically unless the participant affirmatively elects to invest in a different investment

option. The Investment Committee selected as the default investment option for Plan




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participants the Wells Fargo Target Fund Suite, 1 a family of eleven target retirement date
                                                 0F




funds managed by Wells Fargo Asset Management. 2      1F




        8.    The Wells Fargo Target Fund Suite is comprised of “target date funds,”

which are a type of fund designed to achieve certain investment results based on an

investor’s anticipated retirement date (the “target date”). The Wells Fargo Target Fund

Suite contains funds divided into five-year increments representing different “target dates”

of anticipated retirement dates ranging from 2010 to 2060.

        9.    Over the past decade, target date funds have become increasingly popular,

and are now one of the most sought-after retirement savings options. According to the Wall

Street Journal, as of the end of 2016, target date funds held 21% of all 401(k) assets in the

United States. In 2018, at least $734 billion of retirement savings were invested in target

date funds. According to Morningstar, Inc. (“Morningstar”), 3 assets in target-date mutual
                                                              2F




funds reached an all-time high of $2.2 trillion in early 2020. Given their popularity,

retirement plan fiduciaries have hundreds of different target date funds from which to

choose when selecting the target date fund option for their plans.


1
 References to the Wells Fargo Target Fund Suite include the Wells Fargo Target CIT
Funds Class E-3 and their predecessor funds, the Wells Fargo Dow Jones Target Funds
Class N.
2
 Wells Fargo Asset Management is a trade name used by the asset management business
of Wells Fargo & Company, and includes Wells Fargo Funds Management, LLC.
3
 Morningstar, Inc. is a leading provider of independent investment research products (e.g.,
data and research insights on managed investment products, publicly listed companies, and
private capital markets) for individual investors, financial advisors, asset managers,
retirement plan providers and sponsors, and institutional investors in the private capital
markets in North America, Europe, Australia, and Asia.
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       10.     Target date funds are generally packaged as a suite or single family. Plans

generally cannot select different vintages of target date funds from different fund managers.

The UnitedHealth Defendants selected the Wells Fargo Target Fund Suite as a single

family, or suite, of target date funds, and this resulted in the simultaneous inclusion of all

available vintages of the Wells Fargo Target Fund Suite on the Plan. The UnitedHealth

Defendants made the decision to add the full Wells Fargo Target Fund Suite on the Plan in

2010. After that, the UnitedHealth Defendants decided to retain the entire Wells Fargo

Target Fund Suite on the Plan.

       11.     From 2010 through 2015, the Wells Fargo Target Fund Suite significantly

underperformed both the official benchmark indices identified in the Plan’s Investment

Policy Statement and comparable target date funds. In the investment world, five years is

precious time where even slight underperformance throughout the entire period is difficult,

if not impossible, to justify.

       12.     The UnitedHealth Defendants did not remove the Wells Fargo Target Fund

Suite from the Plan by 2015 despite years of underperformance and a marketplace teeming

with hundreds of better performing investment options. The UnitedHealth Defendants’

decision was as imprudent as it was injurious to the Plan and its participants. Not

unexpectedly, the Wells Fargo Target Fund Suite continued underperforming from 2016

onward. During the first decade of the Wells Fargo Target Fund Suite’s existence, virtually

all of the funds in the Wells Fargo Target Fund Suite performed in the bottom 70th to 97th

percentile—worse than 70 to 97% of their peer funds.



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       13.    In all, the Wells Fargo Target Fund Suite drew over $7 billion of retirement

investments from Plan participants. The UnitedHealth Defendants’ decision to retain the

Wells Fargo Target Fund Suite, in violation of ERISA, had a devastating impact on

participants’ retirement accounts, simultaneously impairing the Plan’s overall investment

performance and squandering millions in participants’ retirement savings.

       14.    To remedy UnitedHealth’s breaches of fiduciary duty, Plaintiff brings this

action under 29 U.S.C. §1132(a)(2) and (3), individually, on behalf of the Plan, and as a

representative on behalf of a class of participants and beneficiaries of the Plan, to enforce

the UnitedHealth Defendants’ personal liability under 29 U.S.C. §1109(a) and to make

good to the Plan all losses resulting from each breach of fiduciary duty occurring during

the time period from April 23, 2015 to the date of judgment (the “Class Period”). In

addition, Plaintiff seeks disgorgement of all profits that UnitedHealth reaped as a result of

the UnitedHealth Defendants’ violations of ERISA and seeks such other equitable or

remedial relief for the Plan as the Court may deem appropriate.

       II.    PARTIES

       A.     Plaintiff

       15.    Kim Snyder brings this suit individually, on behalf of the Plan, and on behalf

of a class of participants and beneficiaries of the Plan affected by the challenged conduct

of the UnitedHealth Defendants. Plaintiff Snyder was a participant in the Plan, as defined

in 29 U.S.C. §1002(7), during the Class Period. Plaintiff Snyder suffered individual injury

by investing in the Plan’s poorly performing Wells Fargo Target Fund Suite. Plaintiff

Snyder was invested in the Wells Fargo Target 2035 Fund.
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       B.     Defendants

       16.    The UnitedHealth Group, Inc., a Delaware corporation headquartered in

Minnetonka, Minnesota, is one of the largest diversified health care companies in the

United States. UnitedHealth Group, Inc. is the Plan’s sponsor and named fiduciary.

UnitedHealth Group, Inc. acts through a Board of Directors.

       17.    The UnitedHealth Group Employee Benefits Plans Investment Committee

(“Investment Committee”) is responsible for designating the investment options available

under the Plan. Current and former members of the Investment Committee are fiduciaries

of the Plan under 29 U.S.C. § 1002(21)(A) because they exercised discretionary authority

and/or discretionary control respecting management of the Plan.

       18.    David S. Wichmann, the former Chief Executive Officer of UnitedHealth

Group, Inc., was responsible during the Class Period for plan administration with authority

to delegate to any one or more persons or to a committee of persons such functions as he

may from time to time have deemed advisable.

       19.    John Rex has been the Chief Financial Officer of UnitedHealth Group, Inc.

since June 2016. CFO Rex directly participated in the decision to retain the Wells Fargo

Target Fund Suite as a Plan investment, including but not limited to when he was a member

of the Investment Committee from January 1, 2017 to August 16, 2018.

       III.   JURISDICTION, VENUE, AND STANDING

       20.    This Court has exclusive jurisdiction over the subject matter of this action

under 29 U.S.C. § 1132(e)(1) and 28 U.S.C. §1331 because it is an action under 29 U.S.C.

§ 1132(a)(2) and (3).
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       21.    This District and Division are the proper venue for this action under 29

U.S.C. § 1132(e)(2) and 28 U.S.C. § 1391(b) because they are the District and Division in

which the subject Plan is administered and where at least one of the alleged breaches took

place. They are also the District and Division in which Defendant UnitedHealth resides.

       22.    As a Plan participant and holder of the Wells Fargo 2035 Fund, Plaintiff has

standing to bring claims on behalf of the Plan pursuant to 29 U.S.C. §1132(a)(2), as she

is a participant seeking appropriate relief under 29 U.S.C. §1109. Thus, Plaintiff brings

this suit under §1132(a)(2) in a representative capacity on behalf of the Plan as a whole

and seeks remedies under §1109 to protect the entire Plan.

       23.    Plaintiff has standing to bring claims on behalf of all holders of funds in the

Wells Fargo Target Fund Suite because the alleged harms to holders of the other funds

included in the Wells Fargo Target Fund Suite can be traced to the same challenged

conduct: the imprudent and disloyal process violative of ERISA that the UnitedHealth

Defendants used to select, monitor, and retain the entire Wells Fargo Target Fund Suite.

This singular conduct with respect to the Wells Fargo Target Fund Suite as a whole harmed

each of the holders of the specific funds included in the Wells Fargo Target Fund Suite as

discussed in this Complaint.

       IV.    ERISA’S FIDUCIARY STANDARDS

       A.     Overview of ERISA’s Fiduciary Duties

       24.    ERISA imposes strict fiduciary duties upon the UnitedHealth Defendants as

fiduciaries of the Plan, including the duty of prudence, the duty to adhere to governing Plan

documents, the duty of loyalty, and the requirement to refrain from prohibited transactions.
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These duties apply to all fiduciary acts, including UnitedHealth’s retention of investment

options for the Plan.

       25.    ERISA’s duty of prudence requires fiduciaries to discharge their

responsibilities “with the care, skill, prudence, and diligence” that a prudent person “acting

in a like capacity and familiar with such matters would use.” 29 U.S.C. §1104(a)(1)(B).

Accordingly, fiduciaries must vigorously and independently investigate each of the Plan’s

investment options with the skill of a prudent investor.

       26.    As part of its fiduciary duty, UnitedHealth “has a continuing duty to monitor

[Plan] investments and remove imprudent ones” that exists “separate and apart from the

[fiduciary’s] duty to exercise prudence in selecting investments.” Tibble v. Edison Int’l,

575 U.S. 523, 529 (2015). “A plaintiff may allege that a fiduciary breached the duty of

prudence by failing to properly monitor investments and remove imprudent ones.” Id. at

530. If an investment is imprudent, UnitedHealth “must dispose of it within a reasonable

time.” Id. (citation omitted).

       27.    In addition, ERISA requires each fiduciary to act “in accordance with the

documents and instruments governing the plan,” except when those documents themselves

violate ERISA. 29 U.S.C. § 1104(a)(1)(D). One such governing document that fiduciaries

are required to adhere to is the plan’s Investment Policy Statement.

       28.    Under ERISA’s duty of loyalty, Plan fiduciaries must exercise their

discretion “solely in the interest of the participants and beneficiaries” and “for the

exclusive purpose” of “providing benefits to participants and their beneficiaries.” 29

U.S.C. § 1104(a)(1). This requires Plan fiduciaries to act with an “eye single” to the
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interests of Plan participants and beneficiaries and to “exclude all selfish interest and all

consideration of the interests of third persons.” Pegram v. Herdrich, 530 U.S. 211, 224

(2000) (citation omitted). Fiduciaries violate that duty when they make investment

decisions even in part to benefit themselves or third parties.

       29.      ERISA further “supplements the fiduciaries’ general duty of loyalty to the

Plan’s beneficiaries . . . by categorically barring certain transactions deemed ‘likely to

injure the pension plan.” Harris Tr. & Sav. Bank v. Salomon Smith Barney, Inc., 530 U.S.

238, 241-42 (2000). Among these prohibited transactions, a fiduciary “shall not cause the

plan to engage in a transaction” if the fiduciary “knows or should know” that it constitutes

a “transfer to, or use by or for the benefit of a party in interest, of any assets of the plan”

(29 U.S.C. § 1106(a)(1)(D)) and may not “deal with the assets of the plan in his own interest

or for his own account” (29 U.S.C. § 1106(b)(1)).

       B.       Fiduciary Liability Under ERISA

       30.      Under 29 U.S.C. § 1109, fiduciaries to the Plan are personally liable to make

good to the Plan any harm caused by their breaches of fiduciary duty. Section 1109(a)

provides in relevant part:

             Any person who is a fiduciary with respect to a plan who breaches any of the
             responsibilities, obligations, or duties imposed upon fiduciaries by this
             subchapter shall be personally liable to make good to such plan any losses to the
             plan resulting from each such breach, and to restore to such plan any profits of
             such fiduciary which have been made through use of assets of the plan by the
             fiduciary, and shall be subject to such other equitable or remedial relief as the
             court may deem appropriate, including removal of such fiduciary.




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       C.      Co-Fiduciary Liability

       31.     ERISA provides for co-fiduciary liability where a fiduciary knowingly

participates in, or knowingly fails to cure, a breach by another fiduciary. Specifically,

under 29 U.S.C. § 1105(a), a fiduciary shall be liable for a breach of fiduciary duty by a

co-fiduciary if:

          i.   he participates knowingly in, or knowingly undertakes to conceal, an act or
               omission of such other fiduciary, knowing such act or omission is a breach;
               [or] by his failure to comply with [29 U.S.C. § 1104(a)(1)] in the
               administration of his specific responsibilities which give rise to his status as
               a fiduciary, he has enabled such other fiduciary to commit a breach; or

         ii.   by his failure to comply with [29 U.S.C. § 1104(a)(1)] in the administration
               of his specific responsibilities which give rise to his status as a fiduciary, he
               has enabled such other fiduciary to commit a breach; or

        iii.   he has knowledge of a breach by such other fiduciary, unless he makes
               reasonable efforts under the circumstances to remedy the breach.

       V.      THE PLAN

       32.     The Plan was first established on July 1, 1985, as a defined contribution plan.

The Plan consists of a profit-sharing and stock bonus plan that includes a “qualified cash

or deferred arrangement” as described in Section 401(k) of the Internal Revenue Code,

I.R.C. § 401(k) (1986) (the “Code”) and is subject to the provisions of ERISA. The Plan is

established and maintained under a written document as required by 29 U.S.C. § 1102(a).

UnitedHealth Group, Inc. is the sponsor of the Plan.        In addition, throughout the Class

Period, the Plan maintained Investment Policy Statements that set forth ERISA-compliant

requirements for the selection and retention of Plan investments.




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       33.    The Investment Committee determines the appropriateness of the Plan’s

investment offerings and monitors investment performance. The Investment Committee

designates a default fund in which to invest participants’ contributions if they do not make

an investment election. The Plan’s default fund was the Wells Fargo Target Fund with a

target date closest to the year a participant will reach age 65.

       34.    The Plan provides for retirement income for approximately 200,000

participants, comprised of UnitedHealth employees, former employees, and their

beneficiaries (the “Plan participants”). A participant’s retirement account balance depends

on contributions made by each employee, UnitedHealth’s matching contributions, and the

performance of investment options net of fees and expenses. Accordingly, poor investment

performance can significantly impair the value of a participant’s account. Over time, even

seemingly small differences in performance can result in significant difference in the

amount of savings available at retirement. The UnitedHealth Defendants control the

selection and retention of the Plan’s investment options.

       35.    The Plan’s investments are held in the UnitedHealth Group 401(k) Savings

Plan Master Trust. The Master Trust is administered by Fidelity Management Trust

Company. The Master Trust includes in a single trust the assets of the Plan, which make

up the vast majority of assets held in the Master Trust, as well as the assets of other defined

contribution plans of UnitedHealth’s affiliates.

       36.    Based on publicly available Plan documents, the Master Trust invested over

$8 billion—nearly half of the Trust’s assets—in the Wells Fargo Target Fund Suite as of



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December 31, 2020. In 2020, UnitedHealth identified the following funds in the Wells

Fargo Target Fund Suite along with the amount of Trust assets invested in each fund:



                       Fund Name               Plan Option Assets (000s)
                  Wells Fargo 2010 Fund                $60,788
                  Wells Fargo 2015 Fund               $161,212
                  Wells Fargo 2020 Fund               $586,874
                  Wells Fargo 2025 Fund              $1,189,141
                  Wells Fargo 2030 Fund              $1,476,975
                  Wells Fargo 2035 Fund              $1,583,136
                  Wells Fargo 2040 Fund              $1,397,579
                  Wells Fargo 2045 Fund              $1,175,621
                  Wells Fargo 2050 Fund               $869,414
                  Wells Fargo 2055 Fund               $388,632
                  Wells Fargo 2060 Fund               $149,879

       37.    With billions of target date fund assets, the Plan had tremendous leverage to

demand and receive superior target date products and services. But UnitedHealth did not

use its leverage to identify and select prudent target date options for Plan participants.

Instead, UnitedHealth used Plan assets as leverage to bolster its business relationships.

       VI.    THE WELLS FARGO TARGET FUND SUITE

        38.   From 2010 to 2021, the Wells Fargo Target Fund Suite was the only target

date option on the Plan. Participants who wanted to pursue a target date investment strategy

had no choice other than to invest in the Wells Fargo Target Fund Suite. The entire Wells

Fargo Target Fund Suite was advised by Wells Fargo Asset Management.

        39.   The investment objective of a target date fund is to provide an asset allocation

strategy designed for investors planning to retire and leave the workforce in, or within, a

few years of a certain date. The name of a fund often refers to its target date, which

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corresponds approximately to the investor’s anticipated retirement date. For example, a

fund with a name like “Retirement Fund 2040” or “Target 2040” is designed for individuals

who intend to retire in or near the year 2040. Target retirement years are offered in five-

year increments.

        40.   Like nearly all target-date funds, the Wells Fargo Target Fund Suite was

structured as a pooled investment fund. Additionally, like most target-date funds, the Wells

Fargo Target Fund Suite was structured as what is called a “fund of funds,” meaning that

its funds invest in other funds rather than in individual securities. For example, each Wells

Fargo Target Fund Suite fund could be invested in equity funds, bond funds, real estate

funds, and money market funds. The underlying funds in turn invested in a combination of

individual securities to offer exposure to a mix of asset classes such as U.S. stocks (large-

caps as well as small-caps), international stocks, U.S. bonds, international bonds,

investments linked to real estate, and maybe a small portion of cash-like securities.

       41.    The equity allocation is intended to provide exposure to a specific market

segment. Typically, those segments include U.S. large-, mid- and small-capitalization

companies and international (non-U.S.) developed and emerging markets. The portfolio

manager’s aim should be to build a portfolio that provides exposure to factors commonly

tied to a stock’s potential for enhanced risk-adjusted returns relative to the market. Those

factors include, but are not limited to, value, quality, momentum, size, and low volatility.

       42.    The fixed income allocation is intended to provide diversified exposure

across a wide range of market sectors, including U.S. government obligations, corporate

investment grade and below investment grade bonds (commonly known as “high yield
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bonds” or “junk bonds”), other U.S. aggregate bond sectors (including mortgage- and asset-

backed securities), and emerging market and international fixed income issues. The

portfolio manager’s aims should be to provide broadly diversified fixed income exposure

and construct a portfolio to enhance issuer diversification and liquidity.

       43.    Target date suites seek to achieve their objectives by rebalancing assets over

time to become less focused on growth (lowering their allocation to stocks) and more

focused on preservation (raising their allocation to bonds) as the fund approaches and

passes the target date. The asset mix between equity and fixed income shifts dynamically

over time, becoming less risky over a person’s working career and into retirement.

       44.    A target date fund’s gradual shift to more conservative investments is called

the “glide path.” A target date fund’s glide path is generally designed to reduce investment

risk over time by reducing its exposure to equity securities (e.g., stocks). Generally, equity

exposure begins at approximately 90% when the owner is 45-years from retirement, and

gradually decreases to approximately 45% at retirement and then to approximately 25% in

the years following retirement. As seen below, Wells Fargo illustrates this concept for Plan




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participants and beneficiaries in a hypothetical glide path showing how the target

percentage of equity exposure in its target date funds may change over time. 4 3F




       45.    A target-date fund’s glide path may be designed to take an investor “to” or

“through” retirement. Generally, a “to retirement” target date fund will reach its most

conservative asset allocation on the target retirement date listed in the fund’s name. After

that date, the allocation of the fund typically does not change throughout retirement.

       46.    The Wells Fargo Target Fund Suite employed a “through” glide path, which

was designed to take an investor “through retirement” and would continue to rebalance and

generally reached its most conservative asset allocation after the target date. While these

funds continued to decrease exposure to equities throughout retirement, they would not

reach their most conservative point until the investor is well past age 65.

       47.    Glide paths are not static. The portfolio manager, at its discretion, may

change a fund’s glide path and reallocate assets consistent with a fund’s target year. Factors

that a portfolio manager may consider include but are not limited to market trends, its

outlook for a given market capitalization, and the underlying funds’ performance in various

market conditions.

       48.    Furthermore, once the portfolio manager establishes a fund’s glide path, it

may rebalance holdings within an asset class based on the portfolio manager’s analysis of

various market conditions.



4
  Wells Fargo Asset Management Quarterly Mutual Fund Commentary, Wells Fargo
Target Date Funds, Q4 2020, available at https://www.wellsfargofunds.com/assets/
edocs/marketing/quarterly-fund-commentary/target-date-qfc.pdf
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       49.    Without distinctions in asset allocation, all target date funds would own

identical investment portfolios and have nearly identical investment performance. Artful

asset allocation is the skill that drives investment performance and distinguishes the better

performing target date funds from the underperforming ones. Bad asset allocation drives

long-term underperformance.

       VII.   THE WELLS FARGO TARGET FUND SUITE’S BENCHMARKS

       A.     The S&P Target Date Indices and the Morningstar Peer Universes Are
              Meaningful Benchmarks to Compare Investment Performance

       50.    As explained more fully below, Plaintiff identifies multiple meaningful

benchmarks to gauge the performance of the Wells Fargo Target Fund Suite, including the

S&P Target Date Indices and five other families of target date funds that are grouped

together in the same Morningstar Category as the funds in the Wells Fargo Target Fund

Suite. Each of these benchmarks provides a sound basis for comparison to the Wells Fargo

Target Fund Suite. 5
                   4F




       1.     The Plan and Wells Fargo Identified the S&P Target Date Indices as
              Benchmarks




5
  Wells Fargo also utilized a custom Wells Fargo benchmark. However, the Department of
Labor rejects the use of custom benchmarks on the grounds that investment performance
information could fall prey to “manipulation” and misleading presentations by a fund’s
investment adviser, underwriter, or affiliate. To avoid manipulation, the Department of
Labor mandates that a benchmark should be a “broad-based securities market index,” and
that it may not be administered by an affiliate of the investment issuer, its investment
adviser, or a principal underwriter, unless it is widely recognized and used. 29 C.F.R. §
2550.404a-5. Also see Fiduciary Requirements for Disclosure in Participant-Directed
Individual Account Plans, 75 Fed. Reg. 64910, 64916-64917 (Oct. 20, 2010). Accordingly,
Plaintiff does not reference Wells Fargo’s custom benchmark.
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       51.    The following S&P Target Date Indices 6 are meaningful benchmarks
                                                          5F




because both the Plan and Wells Fargo have identified these indices to Plan participants,

as well as the public at large, as the benchmarks with which to compare the investment

performance of each Wells Fargo Fund.

                    Fund Name                 Plan’s Stated Benchmark
               Wells Fargo 2020 Fund         S&P 2020 Target Date Index
               Wells Fargo 2025 Fund         S&P 2025 Target Date Index
               Wells Fargo 2030 Fund         S&P 2030 Target Date Index
               Wells Fargo 2035 Fund         S&P 2035 Target Date Index
               Wells Fargo 2040 Fund         S&P 2040 Target Date Index
               Wells Fargo 2045 Fund         S&P 2045 Target Date Index
               Wells Fargo 2050 Fund         S&P 2050 Target Date Index
               Wells Fargo 2055 Fund         S&P 2055 Target Date Index
               Wells Fargo 2060 Fund         S&P 2060 Target Date Index

       2.     Portfolio Analysis is the Key to Morningstar Peer Universe Categories

       52.    Additional meaningful benchmarks include families of target date funds that

the highly regarded financial services and research firm, Morningstar, has classified as

being in the same peer universe as the Wells Fargo Target Fund Suite. Morningstar’s peer

universes are embodied in what it calls a “Morningstar Category.”

       53.    Funds within a Morningstar Category make for sound comparators because

Morningstar selects funds for a Morningstar Category using a proprietary classification

methodology that compares funds based on their underlying portfolio holdings. To belong




6
 The S&P Target Date Indices are designed to represent a broadly derived consensus of
asset class exposure for each target date year, as well as overall glide path. Each index
corresponds to a particular target retirement date, providing varying levels of exposure to
equity, bonds, and other asset classes.
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in the same peer universe, Morningstar requires that the funds must have comparable

underlying portfolio holdings dating back at least three years.

       54.    Morningstar’s evaluation looks at once to: (1) the purpose of the target date

fund, which is to provide investors expecting to retire and/or begin gradually withdrawing

funds around a target date with a meaningful return; (2) how the fund allocates its assets

among the asset classes, principally equity, fixed income, cash, and other investments; and

(3) how the fund intends to gradually reduce its potential market risk exposures over time.

Based on its evaluation, Morningstar has created the following Morningstar Categories for

target date funds:

                              Morningstar Target Date 2020

                              Morningstar Target Date 2025

                              Morningstar Target Date 2030

                              Morningstar Target Date 2035

                              Morningstar Target Date 2040

                              Morningstar Target Date 2045

                              Morningstar Target Date 2050

                              Morningstar Target Date 2055

                              Morningstar Target Date 2060

       55.    Based on its assessment of the funds in the Wells Fargo Target Fund Suite,

Morningstar has classified each of the funds in the Wells Fargo Target Fund Suite within

the Morningstar Target Date Category with a corresponding target date. For example,

Morningstar has assigned the Wells Fargo 2020 Fund to its Morningstar Target Date 2020
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Category, assigned the Wells Fargo 2025 Fund to its Morningstar Target Date 2025

Category, and so on. Within each Morningstar Category are hundreds of funds that are

pursuing the same investment objectives with comparable underlying portfolio holdings.

      56.    More specifically, given its analysis of each fund’s investment objective—to

provide total return through the retirement date—and its allocation of their underlying

investment portfolios among equity, fixed income, cash and other investments,

Morningstar has grouped each of the following fund families in the same Target Date

Category as the corresponding fund in the Wells Fargo Target Fund Suite (hereinafter, the

“Comparator Funds”):

                           Fidelity Blend Target Date Funds

                            Fidelity Index Target Date Funds

                          State Street Target Retirement Funds

                        T. Rowe Price Retirement Hybrid Funds

                          Vanguard Target Retirement Funds

      57.    Like the Wells Fargo Target Fund Suite, each of the Comparator Funds is a

target date fund structured as a fund of funds. Like the Wells Fargo Target Fund Suite,

each of the Comparator Funds invests in a diversified portfolio comprised primarily of

investments from different market sectors, including U.S. and international large-, mid-,

and small-cap stocks, U.S. and international bonds, and investments tied to real estate.

Like the Wells Fargo Target Fund Suite, each of the Comparator Funds seeks to achieve

its objective by rebalancing portfolios over time to become less focused on growth

(lowering the fund’s allocation to stocks) and more focused on preservation (raising the
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fund’s allocation to bonds) as the fund approaches and passes the target date. All of the

Comparator Funds invest primarily in passively managed index funds or in a combination

of both passively managed index funds and actively managed funds. Finally, like the Wells

Fargo Target Fund Suite, each of the Comparator Funds manages its glide path “through”

the projected retirement date.

      58.    In addition, the Comparator Funds are all target date suites that that

UnitedHealth itself shortlisted as candidates to replace the Wells Fargo Target Date Suite.

The Investment Committee concluded that the portfolio managers for these Comparator

Funds were all capable of managing a glide path aligned with the Plan’s participant

demographics, and these portfolio managers earned the highest marks on all aspects of

UnitedHealth’s selection criteria (namely their ratings, strategic fit, asset size, investment

strategy, fees, performance, and glidepath). In addition, the Plan’s independent investment

consultant, Mercer, identified these funds as part of a streamlined peer group to evaluate

the Wells Fargo Target Fund Suite.

      59.    Based on the foregoing, including the similarities of the Comparator Funds’

structures, Morningstar’s inclusion of each of the Comparator Funds in the same

Morningstar Category, and the UnitedHealth Defendants’ own selection of the

Comparator Funds as candidates to replace the Wells Fargo Target Fund, the Comparator

Funds represent meaningful comparators to the Wells Fargo Target Fund Suite. When

considering these Comparator Funds and the Dow Jones Target Date Indices and S&P

Target Date Indices, Plaintiff has identified meaningful benchmarks that provide a sound

basis of comparison to the Wells Fargo Target Fund Suite funds.
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       VIII. UNITEDHEALTH’S BREACHES OF ERISA

       A.     The UnitedHealth Defendants Imprudently Retained the Family of
              Poorly Performing Wells Fargo Target Date Funds

       60.    UnitedHealth added the Wells Fargo Target Fund Suite to the Plan in 2010,

the same year that Wells Fargo, on the heels of completing a major acquisition, made

UnitedHealth the primary healthcare provider nationwide for the merged bank. At that

time, there were other target date funds offered and managed by more established

investment advisers as diverse as Fidelity, T. Rowe Price, State Street, and Vanguard. But

UnitedHealth was growing its business relationship with Wells Fargo and selected the

Wells Fargo Target Fund Suite instead of those superior target date funds.

       61.    Target date funds are typically offered as a family of funds bundled by a

single investment adviser (here, Wells Fargo), meaning retirement plan fiduciaries, like the

UnitedHealth Defendants, cannot pick and choose among various fund families that offer

funds with different years, or “vintages.” In other words, the Plan cannot offer a State Street

2030 target retirement date fund to participants seeking to retire in 2030, a Wells Fargo

2040 target date fund to participants seeking to retire in 2040, and a Vanguard 2050 target

date fund to participants seeking to retire in 2050.

       62.    Instead, once the UnitedHealth Defendants selected Wells Fargo as the

Plan’s target date fund provider, it committed to including each of the Wells Fargo Fund

“vintages” on the Plan, as opposed to selecting certain “vintages” (e.g., 2030 and 2035)

from Wells Fargo, while choosing different “vintages” (e.g., 2040 and 2045) from an

alternative investment manager. Thus, it was especially important for the Plan fiduciaries


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to monitor both the performance of each individual Wells Fargo target date fund, as well

as the overall performance of the Wells Fargo Target Fund Suite as a family to ensure that

the Wells Fargo Target Fund Suite remained a prudent investment option for the Plan.

       63.    From 2010 to 2021, the Wells Fargo Target Fund Suite was the only target

date option on the Plan. Plan participants who wanted to invest in a target date strategy had

no choice other than to invest in the Wells Fargo Target Fund Suite.

       64.    The UnitedHealth Defendants also selected the Wells Fargo Target Fund

Suite as the Plan’s default investment option. That is, if a participant did not make any

investment election, the Plan automatically invested the participant’s contributions, along

with any matching contributions and/or earnings, in the Wells Fargo Target Fund Suite

with a target date closest to the year when the participant would reach age 65.

       65.    UnitedHealth’s decision to add the Wells Fargo Target Fund Suite in 2010

netted over $1 billion in participant investments to these funds by 2011. Post-selection,

one of the important tasks for the UnitedHealth Defendants was to monitor the funds with

the skill of a prudent expert to determine whether their investment performance was in line

with a meaningful investment index and funds within a recognized peer universe. For a

prudent fiduciary, investment options that, on average, underperform their benchmarks or

peer universe over rolling 3- or 5-year periods are candidates for removal. Had the

UnitedHealth Defendants fulfilled their duty with the care and skill of a prudent fiduciary,

they would have seen in real-time that the Wells Fargo Target Fund Suite underperformed

its benchmarks for over five years prior to the commencement of the Class Period.



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       B.     The UnitedHealth Defendants Recognized that the Wells Fargo Target
              Fund Suite Was an Imprudent Investment But Still Retained It To
              Curry Favor With and Benefit Their Key Business Partner, Wells Fargo

       66.    By October 2014, the Plan’s independent investment consultant, Mercer, was

expressing concerns to the Investment Committee about the Wells Fargo Target Fund Suite

and warned the Investment Committee that the pressing priority for UnitedHealth was to

evaluate alternative target date funds. Mercer then conducted extensive analyses over the

course of 2015 and 2016 and expressed to the Investment Committee that the Plan would

benefit from replacing the Wells Fargo Target Fund Suite.

       67.    After consultation with Mercer, the Investment Committee agreed by 2016

that a different target date fund provider should be selected for the Plan. The Investment

Committee gave harsh reviews to the Wells Fargo Target Fund Suite and ranked it the

lowest among all alternatives under consideration, including scoring it lower than all of the

Comparator Funds that the Investment Committee evaluated. The Investment Committee

repeatedly memorialized that Wells Fargo would not be considered as a finalist in the

Investment Committee’s search for a target date provider for the Plan.

       68.    In November 2016, the Investment Committee presented two key executives,

CFO John Rex and EVP Wilson, with the results of nearly two (2) years of analysis,

including their decision that Wells Fargo should be replaced with an alternative target date

fund provider, their conclusions about the type of target date suite that would best serve

Plan participants, and multiple reasons underlying the decision to replace Wells Fargo.

       69.    Rather than focusing on the needs of Plan participants, CFO Rex scrutinized

UnitedHealth’s financial relationships with Wells Fargo and the other target date
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candidates. CFO Rex knew that Wells Fargo was a key business partner of UnitedHealth:

a so-called jumbo customer, a major lender, and a main underwriter for its business.

UnitedHealth closely monitored its business relationship with Wells Fargo and saw the

Plan’s assets as a bargaining chip in that relationship.

       70.    So, immediately after he learned of the Investment Committee’s plan to

remove the Wells Fargo Target Date Suite from the Plan, CFO Rex injected UnitedHealth’s

financial interests into the target date selection process. His staff immediately compiled a

spreadsheet showing the total fees UnitedHealth was receiving from, and paying to, each

of the six target date fund candidates. The data confirmed that Wells Fargo was a far more

profitable customer for UnitedHealth than the other target date candidates.           Soon

afterwards, internal correspondence warned that if Wells Fargo was not selected, there

would likely be an escalation to the Chairman of the Board of UnitedHealth, Stephen J.

Hemsley, and UnitedHealth’s CEO, David S. Wichmann.

       71.    Thus, CFO Rex intervened and blocked the decision to remove the Wells

Fargo Target Fund Suite. Even though he was not a member of the Investment Committee

at the time, he demanded that Wells Fargo be included in updated materials on target fund

candidates. Shortly afterwards, UnitedHealth disbanded the Investment Committee as it

had existed, removing two (2) of the five (5) Investment Committee members and replacing

them with CFO Rex and EVP Wilson—even though these executives had no apparent

fiduciary training and had had no involvement in the two-year target date selection process.

       72.    Once he joined the Investment Committee, CFO Rex personally directed that

Wells Fargo be treated as a finalist to remain the Plan’s target date provider. In addition,
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under CFO Rex’s influence, the Investment Committee abandoned the process that it had

determined was the prudent way to select a target date provider and reversed the decision

to remove Wells Fargo’s target date funds from the Plan. To do so, the fiduciaries sidelined

the Plan’s independent investment consultant, Mercer, from the decision-making process,

ignored the key findings that the Investment Committee had previously made about what

type of target date suite would best serve Plan participants, and abandoned the Investment

Committee’s criteria for screening target date managers.

       73.    In addition, the new Investment Committee’s decision-making became

shrouded in secrecy. At CFO Rex’s direction, the Investment Committee excluded the

Plan’s investment consultant, Mercer, from key meetings that resulted in the decision to

retain Wells Fargo, including the final interviews with Wells Fargo and the other target

date providers. Meanwhile, the Investment Committee abruptly stopped documenting its

target date selection process and maintained no contemporaneous records for the key

meetings that resulted in the decision to retain Wells Fargo.

       74.    Behind closed doors, the fix was in to retain Wells Fargo. As a pretext for

the decision, UnitedHealth pressed Wells Fargo at the eleventh hour to throw together a

new, purportedly “custom” investment strategy (even though the Investment Committee

had already concluded that a custom strategy was unnecessary). UnitedHealth then failed

to rigorously evaluate Wells Fargo’s new strategy, which relied on palpably unreliable,

hypothetical simulations. Within days after Wells Fargo pitched its “custom” strategy to

UnitedHealth, UnitedHealth was already planning to stick with Wells Fargo—even though

UnitedHealth had not received comprehensive data on the pitched strategy’s asset
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allocations or projected performance, obtained any evaluation from the Plan’s independent

investment consultant, or engaged in any other meaningful independent investigation or

analysis. Soon after, the Investment Committee rubber stamped the decision in a series of

meetings that lasted less than two hours in total.

       75.    In violation of ERISA’s duty of loyalty and ban on prohibited transactions,

the decision to retain Wells Fargo was made at least in part to curry favor with, and benefit,

UnitedHealth’s key business partner, Wells Fargo, and advance UnitedHealth’s self-

interest. Indeed, the Investment Committee itself memorialized how business interests had

tainted its decision-making: in writing, the Investment Committee commended Wells

Fargo’s business relationship with UnitedHealth as a top consideration for its retention of

the Wells Fargo Target Fund Suite; meanwhile, the Investment Committee faulted the

candidate that ranked highest on the official selection criteria because the candidate had no

business relationship with UnitedHealth.

       76.    The Investment Committee recognized that Wells Fargo would benefit

handsomely from continuing to manage the Plan’s target date assets. Well Fargo’s target

date business was struggling: by late 2016, UnitedHealth was the only large institutional

client still invested in the Wells Fargo Target Fund Suite, and losing UnitedHealth would

have decimated Wells Fargo’s target date business. But as a member of the Investment

Committee acknowledged in writing, if Wells Fargo were allowed to continue managing

the Plan’s target date assets, Wells Fargo could bolster and rebuild its anemic target date

platform and establish a track record where it had none.



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      77.    The UnitedHealth Defendants only decided to remove the Wells Fargo

Target Fund Suite for good when it no longer served UnitedHealth’s business interests,

after Wells Fargo announced that it would sell off its flailing asset management business

in February 2021 (and after this class action lawsuit was brought in April 2021).

      78.    In addition to violating ERISA’s duty of loyalty and ban on prohibited

transactions, UnitedHealth’s decision to retain Wells Fargo was grossly imprudent. As

detailed below, the Wells Fargo Target Fund Suite’s chronic and severe underperformance

made it a quintessentially imprudent investment. Moreover, in order to retain Wells Fargo,

UnitedHealth abandoned the process that it had determined was the prudent way to select

a target date provider and ignored the Investment Committee’s own findings about what

would best serve Plan participants.

      79.    UnitedHealth’s decision to retain Wells Fargo also violated the Plan’s

Investment Policy Statement, which required, inter alia, that investment managers have: a

history of reliability and stability (which the scandal-laden Wells Fargo lacked);

competitive investment performance compared to both the appropriate peer group and

benchmark (which the chronically underperforming Suite also lacked); and a history of

adherence to their investment approach (an impossibility for Wells Fargo, whose new, so-

called “custom” strategy was hastily constructed and had no historical track record).

      80.    UnitedHealth’s decision to retain Wells Fargo also ignored the operative

Investment Policy Statement’s criteria for when a Plan investment needed to be replaced.

Criteria for removal in the Investment Policy Statement that the UnitedHealth Defendants

ignored included: the investment’s failure to perform above its peer group median (which
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the Wells Fargo Target Fund Suite consistently failed to do); the presence of material

litigation or fraud (at the time, Wells Fargo was embroiled in multiple litigations accusing

it of fraud and other wrongdoing); significant changes in the investment fund company or

investment manager (Wells Fargo’s scandals coincided with major leadership shakeups,

including the replacement of the CEOs of Wells Fargo Asset Management and its parent

company); and changes in the fund’s management personnel or investment strategy (which

occurred repeatedly over the Class Period, including in 2015 and 2017).

       C.     The Wells Fargo Target Fund Suite Underperformed Compared to
              Numerous Meaningful Benchmarks For More than a Decade

       81.    In the five-year period from 2011 through 2015, the poor performance of the

Wells Fargo Target Fund Suite cost the Plan and its participants over $100 million in lost

retirement savings when compared to what they would have earned in one of the

Comparator Funds. Monitoring the Plan, any fiduciary would have seen that the poor

performance warranted the selection of a new target date option.

    82.       Despite the financial rout, UnitedHealth continued its commitment to the

Wells Fargo Target Fund Suite and failed to replace the Wells Fargo Target Fund Suite

with any one of the many prudent alternatives. In fact, the Plan added two more Wells

Fargo target funds to the Plan, the 2055 Fund in 2013 and the 2060 Fund in 2015.

       83.    Not unexpectedly, the Wells Fargo Target Fund Suite continued to languish

with its funds performing at the bottom of their respective peer universes, capping a decade

of continuous poor performance. Specifically, a majority of the funds included in the Wells

Fargo Target Fund Suite performed worse than between 70% and 97% of their peer funds


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in their respective Morningstar Category over the preceding 3, 5, and 10 years for those in

existence that long. In fact, in both the last 5 years and last 10 years, the Wells Fargo 2020

Fund performed worse than 97% of all the funds in its Morningstar Category.

         84.    Tables 1.a-10.a below demonstrate the underperformance of funds in the

Wells Fargo Target Fund Suite 7 compared to the S&P Target Date Indices, the Comparator
                                6F




Funds, and the Dow Jones Target Date Indices 8 from October 1, 2010 through December
                                                  7F




31, 2015.

         85.    Tables 1.b-11.b below demonstrate the underperformance of funds in the

Wells Fargo Target Fund Suite compared to the S&P Target Date Indices (the Plan’s stated

benchmark index), the S&P Target Date Through Index, 9 and the Comparator Funds on
                                                            8F




both an annualized and cumulative basis for the period January 1, 2016 through March 31,

2021.

         86.    Tables 1.c-11.c below quantify how UnitedHealth’s decision to keep the

Wells Fargo Target Fund Suite squandered millions of dollars of Plan participants’



7
    The Wells Fargo 2060 Fund is not included because it was not offered until 2015.
8
  The Plan’s Investment Policy Statement identified the Dow Jones Target Date Indices as
the benchmark for the Wells Fargo Target Date Suite until May 30, 2018. Therefore,
Plaintiff includes the Dow Jones Target Date Indices as a benchmark index in Tables 1.a-
10.a.
9
  Because Wells Fargo constructed the Wells Fargo Target Fund Suite with a “through
date” glidepath, Plaintiff has included this index for comparison purposes. The S&P Target
Date “Through” Indices, which were created in June 2012, reflect the consensus asset
allocation and glide path of a subset of target date funds that generally pursue investment
policies characterized by a declining total equity exposure after retirement and a relatively
aggressive total equity exposure near retirement.
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retirement savings. Plaintiff demonstrates the monetary impact of UnitedHealth’s decision

by showing how the growth of an investment in funds from the Wells Fargo Target Fund

Suite compares to the growth of the same investment in the Comparator Funds from

January 1, 2016 through March 31, 2021.

       87.    All of the data presented in each of the Tables in this Complaint was available

in real-time to the UnitedHealth Defendants throughout the Class Period.

       88.    The Comparator Funds listed in each of the Tables below (Fidelity, State

Street, T. Rowe Price, and Vanguard) pursue the same investment objectives as the Wells

Fargo Target Fund Suite, are managed by well-known investment advisers, and are

available to all large retirement plans. The UnitedHealth Defendants would not have had

to scour the market to find them. On the contrary, the Wells Fargo Target Fund Suite’s

performance was so bad that the UnitedHealth Defendants likely would have had to scour

the market to find offerings as poor-performing as the Wells Fargo Target Fund Suite.

       89.    The UnitedHealth Defendants’ decisions have had a profound adverse effect

on the Plan and its participants. The overall breadth and depth of the Wells Fargo Target

Fund Suite’s underperformance raises a plausible inference that UnitedHealth’s selection

and monitoring process was tainted by a lack of competency and/or complete failure of

effort, and its retention of the Wells Fargo Target Fund Suite was imprudent and disloyal.

       90.    Plaintiff did not have knowledge of all material facts necessary to understand

that the UnitedHealth Defendants breached their fiduciary duties until shortly before filing

her original Complaint. Further, Plaintiff did not have actual knowledge of the specifics of

the UnitedHealth’s decision-making processes with respect to the Plan, including the
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processes for selecting, monitoring, and removing Plan investments, because this

information was solely within the possession of the UnitedHealth Defendants. For purposes

of this Complaint, Plaintiff has drawn reasonable and plausible inferences regarding these

processes based upon the facts known to her and as alleged in this Complaint.

      1.     Wells Fargo 2010 Fund

      91.    Since its introduction to the Plan in 2010, the Wells Fargo 2010 Fund’s

underperformance has undermined the retirement savings of Plan participants. Table 1.a

below illustrates over five years of underperformance from inception leading up to the

beginning of the Class Period, relative to benchmark indices and the Comparator Funds

where investment performance information is publicly available.

                                        Table 1.a

                          October 1, 2010 – December 31, 2015

                                                    Cumulative          Annualized
                   Fund
                                                     Return              Return
 Wells Fargo Target 2010                             16.91%               3.02%
 FIAM Blend Target Date 2010 T                       39.04%               6.48%
 FIAM Index Target Date 2010 T                       34.24%               5.77%
 State Street Target Ret 2010 NL Cl W                 N/A                 N/A 109F




 T. Rowe Price Ret Hybrid 2010 Tr-T1                 39.94%               6.61%
 Vanguard Target Retirement 2010 Trust II             N/A                  N/A
 S&P Target Date 2010 TR                             33.59%               5.67%
 Dow Jones Global Target Date 2010 Index             20.40%               3.60%




10
  Around 2015, the Fund became invested in its most conservative mix of cash, bond, and
stock investments and was merged into the State Street Target Retirement Income Fund.
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        92.   Monitoring the Plan, any fiduciary would have used one or more of the

  indices and Comparator Funds listed in Table 1.a as benchmarks for the performance of

  the Wells Fargo 2010 Fund. Despite over five years of substantial underperformance, the

  UnitedHealth Defendants did not remove the Wells Fargo Target Fund Suite from the

  Plan. Predictably, the fund’s underperformance continued throughout the Class Period.

        93.   Table 1.b illustrates the underperformance of the Wells Fargo 2010 Fund

  from January 1, 2016 through March 31, 2021 on an annualized basis relative to

  Comparator Funds and the two S&P benchmark indices. Furthermore, the differences in

  annual performance are even more pronounced when viewed on a cumulative basis

  compounded over time. Thus, as Table 1.b demonstrates, the Wells Fargo 2010 Fund

  significantly underperformed the benchmark indices and Comparator Funds on a

  cumulative basis.

                                        Table 1.b

                            January 1, 2016 – March 31, 2021


                               Annualized Performance                         Cumulative
      Fund                                                                   Compounded
                 2016      2017      2018         2019    2020    2021 11
                                                                       10F   Performance
Wells Fargo
                5.52%     9.03%     -2.91%    14.15%     8.66%    0.12%        38.71%
Target 2010
FIAM Blend
Target Date     6.77%    11.67%     -3.04%    14.83%     11.02%   0.45%        48.18%
2010 T
+/- Wells
                -1.25%    -2.64%   +0.13%     -0.68%     -2.36%   -0.33%       -9.47%
Fargo



 11
   The 2021 values in Tables 1.b-11.b reflect data from January 1, 2021 through March 31,
 2021.
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                                  Annualized Performance                       Cumulative
    Fund                                                                      Compounded
                  2016     2017       2018         2019    2020    2021 11
                                                                        10F   Performance
FIAM Index
Target Date       5.75%   10.84%     -2.28%    14.48%     10.44%   -0.15%       44.60%
2010 T
+/- Wells
                 -0.23%   -1.81%     -0.63%    -0.33%     -1.78%   +0.03%       -5.89%
Fargo
State Street
Target Ret         N/A      N/A       N/A          N/A     N/A      N/A          N/A
2010 NL Cl W
+/- Wells
                   N/A      N/A       N/A          N/A     N/A      N/A           N/A
Fargo
T. Rowe Price
Ret Hybrid        6.78%   12.12%     -3.54%    15.71%     13.06%   2.13%        54.28%
2010 Tr-T1
+/- Wells
                 -1.26%   -3.09%     +0.63%    -1.56%     -4.40%   -2.01%       -15.57%
Fargo
Vanguard
Target
                   N/A      N/A       N/A          N/A     N/A      N/A          N/A
Retirement
2010 Trust II
+/- Wells
                   N/A      N/A       N/A          N/A     N/A      N/A           N/A
Fargo
S&P Target
Date Through      6.17%   10.63%     -3.41%    15.08%     10.24%   1.00%        45.37%
2010 TR
+/- Wells
                 -0.65%   -1.60%     +0.50%    -0.93%     -1.58%   -0.88%       -6.66%
Fargo
S&P Target
                  5.82%    9.95%     -3.10%    14.30%     9.95%    0.62%        42.56%
Date 2010 TR
+/- Wells
                 -0.30%   -0.92%     +0.19%    -0.15%     -1.29%   -0.50%       -3.85%
Fargo

       94.      When compared to the investment performance of the peer universe within

 the Target Date 2010 Morningstar Category, the breadth and depth of the Wells Fargo 2010

 Fund’s underperformance is stunning. Based on Morningstar data, as of March 31, 2021,

 the Wells Fargo 2010 Fund performed worse than 95% of all peer funds over the preceding


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10-year period, worse than 96% of all peer funds over the preceding 5-year period, and

worse than 71% of all peer funds over the preceding 3-year period.

      95.    During the Class Period, the assets of the Wells Fargo 2010 Fund averaged

approximately $30 million. Table 1.c demonstrates the financial significance of this

underperformance by showing the growth of $30 million invested in the Wells Fargo 2010

Fund as compared to the growth of $30 million invested in each of the Comparator Funds

from January 1, 2016 through March 31, 2021.

                                       Table 1.c

                            January 1, 2016 – March 31, 2021

                               Compounded             Annualized         Growth of
       Fund Name
                               Performance           Performance         $30 Million
 Wells Fargo Target 2010         38.71%                 6.43%           $41.6 million
 FIAM Blend Target Date
                                  48.18%                7.78%           $44.4 million
 2010 T
 +/- Wells Fargo                  -9.47%                -1.35%           -$2.8 million
 FIAM Index Target Date
                                  44.60%                7.28%           $43.3 million
 2010 T
 +/- Wells Fargo                  -5.89%                -0.85%           -$1.7 million
 State Street Target Ret
                                    N/A                  N/A                 N/A
 2010 NL Cl W
 +/- Wells Fargo                    N/A                   N/A                N/A
 T. Rowe Price Ret
                                  54.28%                8.61%           $46.2 million
 Hybrid 2010 Tr-T1
 +/- Wells Fargo                  -15.57%               -2.18%           -$4.6 million
 Vanguard Target
                                    N/A                  N/A                 N/A
 Retirement 2010 Trust II
 +/- Wells Fargo                    N/A                   N/A                N/A




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      2.     Wells Fargo 2015 Fund

      96.    Since its introduction to the Plan in 2010, the Wells Fargo 2015 Fund’s

underperformance has undermined the retirement savings of Plan participants. Table 2.a

below illustrates over five years of underperformance from inception leading up to the

beginning of the Class Period, relative to benchmark indices and the Comparator Funds

where investment performance information is publicly available.

                                       Table 2.a

                         October 1, 2010 – December 31, 2015

                   Fund                   Cumulative Return Annualized Return
 Wells Fargo Target 2015                      21.79%             3.83%
 FIAM Blend Target Date 2015 T                40.32%             6.66%
 FIAM Index Target Date 2015 T                35.85%             6.01%
 State Street Target Ret 2015 NL Cl W           N/A              N/A 12       1F




 T. Rowe Price Ret Hybrid 2015 Tr-T1          46.14%             7.49%
 Vanguard Target Retirement 2015 Trust II     43.83%             7.17%
 S&P Target Date 2015 TR                      39.49%             6.55%
 Dow Jones Global Target Date 2015            24.87%             4.32%

      97.    Monitoring the Plan, any fiduciary would have used one or more of the

 indices and Comparator Funds listed in Table 2.a as benchmarks for the performance of

 the Wells Fargo 2015 Fund. Despite over five years of substantial underperformance, the

 UnitedHealth Defendants did not remove the Wells Fargo Target Fund Suite from the

 Plan. Predictably, the fund’s underperformance continued throughout the Class Period.




12
  Around 2020, the Fund became invested in its most conservative mix of cash, bond and
stock investments and was merged into to the State Street Target Retirement Income Fund.
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        98.   Table 2.b illustrates the underperformance of the Wells Fargo 2015 Fund

  from January 1, 2016 through March 31, 2021 on an annualized basis relative to

  Comparator Funds and the two S&P benchmark indices. Furthermore, the differences in

  annual performance are even more pronounced when viewed on a cumulative basis

  compounded over time. Thus, as Table 2.b demonstrates, the Wells Fargo 2015 Fund

  significantly underperformed the benchmark indices and Comparator Funds on a

  cumulative basis.

                                        Table 2.b

                            January 1, 2016 – March 31, 2021


                                  Annualized Performance                      Cumulative
      Fund                                                                   Compounded
                  2016     2017       2018         2019     2020    2021     Performance
Wells Fargo
                 5.35%     9.55%     -3.25%       14.45%   8.94%    0.40%      39.78%
Target 2015
FIAM Blend
Target Date      7.32%    13.61%     -3.96%       16.99%   12.52%   1.11%      55.87%
2015 T
+/- Wells Fargo -1.97%    -4.06%     +0.71%       -2.54%   -3.58%   -0.71%     -16.09%
FIAM Index
Target Date      6.55%    12.65%     -3.05%       16.57%   11.63%   0.44%      52.11%
2015 T
+/- Wells Fargo -1.20%    -3.10%     -0.20%       -2.12%   -2.69%   -0.04%     -12.33%
State Street
Target Ret 2015   N/A       N/A       N/A          N/A      N/A      N/A         N/A
NL Cl W 13
        12F




+/- Wells Fargo   N/A       N/A        N/A         N/A      N/A      N/A         N/A
T. Rowe Price
Ret Hybrid       7.29%    13.78%     -4.11%       17.20%   13.51%   2.41%      59.46%
2015 Tr-T1
+/- Wells Fargo -1.94%    -4.23%     +0.86%       -2.75%   -4.57%   -2.01%     -19.68%

 13
   Around 2020, the Fund became invested in its most conservative mix of cash, bond and
 stock investments and was merged into to the State Street Target Retirement Income Fund.
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                                Annualized Performance                          Cumulative
    Fund                                                                       Compounded
                  2016      2017      2018         2019     2020      2021     Performance
Vanguard
Target
                 6.25%    11.59%     -2.99%       14.93%   10.42%     0.30%      46.40%
Retirement
2015 Trust II
+/- Wells Fargo -0.90%     -2.04%    -0.26%       -0.48%   -1.48%     +0.10      -6.62%
S&P Target
Date Through     7.05%    12.46%     -3.90%       16.11%   10.62%     1.36%      50.64%
2015 TR
+/- Wells Fargo -1.70%     -2.91%   +0.65%        -1.66%   -1.68%     -0.96%     -10.68%
S&P Target
                 6.56%    11.39%     -3.67%       15.40%   10.28%     1.14%      47.17%
Date 2015 TR
+/- Wells Fargo -1.21%     -1.84%   +0.42%        -0.95%   -1.34%     -0.74%     -7.39%

       99.    When compared to the investment performance of the peer universe within

 the Target Date 2015 Morningstar Category, the breadth and depth of the Wells Fargo 2015

 Fund’s underperformance is stunning. Based on Morningstar data, as of March 31, 2021,

 the Wells Fargo 2015 Fund performed worse than 97% of all peer funds over the preceding

 10-year period, worse than 97% of all peer funds over the preceding 5-year period, and

 worse than 88% of all peer funds over the preceding 3-year period.

       100.   During the Class Period, the assets of the Wells Fargo 2015 Fund averaged

 approximately $130 million. Table 2.c demonstrates the financial significance of this

 underperformance by showing the growth of $130 million invested in the Wells Fargo 2015

 Fund as compared to the growth of $130 million invested in each of the Comparator Funds

 from January 1, 2016 through March 31, 2021.




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                                         Table 2.c

                            January 1, 2016 – March 31, 2021

                              Compounded              Annualized      Growth of
       Fund Name
                              Performance            Performance     $130 Million
 Wells Fargo Target 2015        39.78%                  6.59%       $188.7 million
 FIAM Blend Target Date
                                 55.87%                8.82%        $202.6 million
 2015 T
 +/- Wells Fargo                 -16.09%               -2.23%        -$13.9 million
 FIAM Index Target Date
                                 52.11%                8.32%        $197.7 million
 2015 T
 +/- Wells Fargo                 -12.33%               -1.73%        -$9.0 million
 State Street Target Ret
                                   N/A                  N/A              N/A
 2015 NL Cl W
 +/- Wells Fargo                   N/A                  N/A               N/A
 T. Rowe Price Ret
                                 59.46%                9.30%        $215.2 million
 Hybrid 2015 Tr-T1
 +/- Wells Fargo                 -19.68%               -2.71%        -$26.5 million
 Vanguard Target
                                 46.40%                7.53%        $197.6 million
 Retirement 2015 Trust II
 +/- Wells Fargo                 -6.60%                -0.94%        -$8.9 million

      3.     Wells Fargo 2020 Fund

      101.   Since its introduction to the Plan in 2010, the Wells Fargo 2020 Fund’s

underperformance has undermined the retirement savings of Plan participants. Table 3.a

below illustrates over five years of underperformance from inception leading up to the

beginning of the Class Period, relative to benchmark indices and the Comparator Funds.




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                                       Table 3.a

                           October 1, 2010 – December 31, 2015

                                                 Cumulative           Annualized
                    Fund
                                                  Return               Return
 Wells Fargo Target 2020                          27.83%                4.79%
 FIAM Blend Target Date 2020 T                    45.11%                7.35%
 FIAM Index Target Date 2020 T                    39.36%                6.53%
 State Street Target Ret 2020 NL Cl W             47.93%                7.74%
 T. Rowe Price Ret Hybrid 2020 Tr-T1              51.34%                8.21%
 Vanguard Target Retirement 2020 Trust II         48.92%                7.88%
 S&P Target Date 2020 TR                          44.56%                7.27%
 Dow Jones Global Target Date 2020                31.27%                5.32%

      102.   Monitoring the Plan, any fiduciary would have used one or more of the

indices and Comparator Funds listed in Table 3.a as benchmarks for the performance of

the Wells Fargo 2020 Fund. Despite over five years of substantial underperformance, the

UnitedHealth Defendants did not remove the Wells Fargo Target Fund Suite from the Plan.

Predictably, the fund’s underperformance continued throughout the Class Period.

      103.   Table 3.b illustrates the underperformance of the Wells Fargo 2020 Fund

from January 1, 2016 through March 31, 2021 on an annualized basis relative to

Comparator Funds and the two S&P benchmark indices. Furthermore, the differences in

annual performance are even more pronounced when viewed on a cumulative basis

compounded over time. Thus, as Table 3.b demonstrates, the Wells Fargo 2020 Fund

significantly underperformed the benchmark indices and Comparator Funds on a

cumulative basis.




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                                          Table 3.b

                               January 1, 2016 – March 31, 2021

                                                                                 Cumulative
                                   Annualized Performance
    Fund                                                                        Compounded
                     2016     2017      2018         2019     2020      2021    Performance
Wells Fargo
                    5.97%    11.13%    -3.59%       16.18%   9.28%     1.36%      46.11%
Target 2020
FIAM Blend
Target Date         7.59%    14.85%    -4.76%       18.94%   13.79%    1.82%      62.19%
2020 T
+/- Wells Fargo     -1.62%   -3.72%    +1.17%       -2.76%   -4.51%    -0.46%     -16.08%
FIAM Index
Target Date         7.08%    13.94%    -3.75%       18.29%   12.83%    1.07%      58.40%
2020 T
+/- Wells Fargo     -1.11%   -2.81%    +0.16%       -2.11%   -3.55%    +0.29%     -12.29%
State Street
Target Ret 2020     7.45%    13.12%    -4.52%       16.83%   11.13%    1.81%      53.39%
NL Cl W
+/- Wells Fargo     -1.48%   -1.99%    +0.93%       -0.65%   -1.85%    -0.45%     -7.28%
T. Rowe Price
Ret Hybrid          7.89%    15.90%    -4.84%       19.17%   14.00%    2.85%      66.27%
2020 Tr-T1
+/- Wells Fargo     -1.92%   -4.77%    +1.25%       -2.99%   -4.72 %   -1.49%     -20.16%
Vanguard
Target
                    7.02%    14.19%    -4.19%       17.69%   12.10%    1.27%      56.42%
Retirement
2020 Trust II
+/- Wells Fargo     -1.05%   -3.06%    +0.60%       -1.51%   -2.82%    +0.09%     -10.31%
S&P Target
Date Through        7.83%    14.04%    -4.90%       18.18%   11.04%    2.05%      56.60%
2020 TR
+/- Wells Fargo     -1.86%   -2.91%    +1.31%       -2.00%   -1.76%    -0.69%     -10.49%
S&P Target
                    7.22%    12.80%    -4.16%       16.52%   10.24%    1.46%      51.07%
Date 2020 TR
+/- Wells Fargo     -1.25%   -1.67%    +0.57%       -0.34%   -0.96%    -0.10%     -4.96%

        104.      When compared to the investment performance of the peer universe within

 the Target Date 2020 Morningstar Category, the breadth and depth of the Wells Fargo 2020

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Fund’s underperformance is stunning. Based on Morningstar data, as of March 31, 2021,

the Wells Fargo 2020 Fund performed worse than 94% of all peer funds over the preceding

10-year period, worse than 83% of all peer funds over the preceding 5-year period, and

worse than 66% of all peer funds over the preceding 3-year period.

      105.   During the Class Period, the assets of the Wells Fargo 2020 Fund averaged

approximately $375 million. Table 3.c demonstrates the financial significance of this

underperformance by showing the growth of $375 million invested in the Wells Fargo 2020

Fund as compared to the growth of $375 million invested in each of the Comparator Funds

from January 1, 2016 through March 31, 2021.

                                       Table 3.c

                            January 1, 2016 – March 31, 2021

                               Compounded              Annualized           Growth of
       Fund Name
                               Performance            Performance          $375 Million
 Wells Fargo Target 2020         46.11%                  7.49%            $547.9 million
 FIAM Blend Target Date
                                  62.19%                 9.65%            $608.2 million
 2020 T
 +/- Wells Fargo                  -16.08%                -2.16%           -$60.3 million
 FIAM Index Target Date
                                  58.40%                 9.16%            $593.9 million
 2020 T
 +/- Wells Fargo                  -12.29%                -1.67%           -$46.0 million
 State Street Target Ret
                                  53.39%                 8.49%            $575.2 million
 2020 NL Cl W
 +/- Wells Fargo                   -7.28%                -1.00%           -$27.3 million
 T. Rowe Price Ret
                                  66.27%                 10.17%           $623.5 million
 Hybrid 2020 Tr-T1
 +/- Wells Fargo                  -20.16%                -2.68%           -$75.6 million
 Vanguard Target
                                  56.42%                 8.90%            $586.5 million
 Retirement 2020 Trust II
 +/- Wells Fargo                  -10.31%                -1.41%           -$38.6 million

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      4.     Wells Fargo 2025 Fund

      106.   Since its introduction to the Plan in 2010, the Wells Fargo 2025 Fund has

undermined the retirement savings of Plan participants. Table 4.a below illustrates over

five years of underperformance from inception leading up to the beginning of the Class

Period, relative to benchmark indices and the Comparator Funds.

                                       Table 4.a

                         October 1, 2010 – December 31, 2015

                   Fund                   Cumulative Return Annualized Return
 Wells Fargo Target 2025                      35.28%             5.93%
 FIAM Blend Target Date 2025 T                51.28%             8.20%
 FIAM Index Target Date 2025 T                45.65%             7.43%
 State Street Target Ret 2025 NL Cl W         52.32%             8.35%
 T. Rowe Price Ret Hybrid 2025 Tr-T1          56.04%             8.84%
 Vanguard Target Retirement 2025 Trust II     52.93%             8.43%
 S&P Target Date 2025 TR                      48.56%             7.83%
 Dow Jones Global Target Date 2025            38.43%             6.39%

      107.   Monitoring the Plan, any fiduciary would have used one or more of the

indices and Comparator Funds listed in Table 4.a as benchmarks for the performance of

the Wells Fargo 2025 Fund. Despite over five years of substantial underperformance, the

UnitedHealth Defendants did not remove the Wells Fargo Target Fund Suite from the Plan.

Predictably, the fund’s underperformance continued throughout the Class Period.

      108.   Table 4.b illustrates the underperformance of the Wells Fargo 2025 Fund

from January 1, 2016 through March 31, 2021 on an annualized basis relative to

Comparator Funds and the two S&P benchmark indices. Furthermore, the differences in

annual performance are even more pronounced when viewed on a cumulative basis

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 compounded over time. Thus, as Table 4.b demonstrates, the Wells Fargo 2025 Fund

 significantly underperformed the benchmark indices and Comparator Funds on a

 cumulative basis.

                                        Table 4.b

                           January 1, 2016 – March 31, 2021


                                 Annualized Performance                     Cumulative
   Fund                                                                    Compounded
                2016      2017       2018         2019    2020     2021    Performance
Wells Fargo
                6.59%    13.10%     -4.23%    17.68%     9.75%    1.62%      51.52%
Target 2025
FIAM Blend
Target Date     7.88%    16.00%     -5.39%    20.46%     14.86%   2.31%      67.59%
2025 T
+/- Wells
                -1.29%   -2.90%    +1.16%     -2.78%     -5.11%   -0.69%     -16.07%
Fargo
FIAM Index
Target Date     7.53%    15.22%     -4.45%    19.88%     13.64%   1.50%      63.69%
2025 T
+/- Wells
                -0.94%   -2.12%    +0.22%     -2.20%     -3.89%   +0.12%     -12.17%
Fargo
State Street
Target Ret
                8.07%    16.27%     -5.89%    19.86%     15.05%   1.93%      66.22%
2025 NL Cl
W
+/- Wells       -1.48%   -3.17%    +1.66%     -2.18%     -5.30%   -0.31%     -14.70%
Fargo
T. Rowe Price
Ret Hybrid      8.33%    17.60%     -5.52%    21.03%     15.19%   3.45%      73.58%
2025 Tr-T1
+/- Wells
                -1.74%   -4.50%    +1.29%     -3.35%     -5.44%   -1.83%     -22.06%
Fargo
Vanguard
Target
                7.51%    16.04%     -5.07%    19.75%     13.39%   1.84%      63.76%
Retirement
2025 Trust II
+/- Wells
                -0.92%   -2.94%    +0.84%     -2.07%     -3.64%   -0.22%     -12.24%
Fargo

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                                 Annualized Performance                        Cumulative
   Fund                                                                       Compounded
                 2016     2017       2018         2019    2020        2021    Performance
S&P Target
Date Through    8.48%    15.65%     -5.72%    19.84%     11.59%       2.83%     62.65%
2025 TR
+/- Wells
               -1.89%    -2.55%    +1.49%     -2.16%     -1.84%   -1.21%        -11.13%
Fargo
S&P Target
                7.82%    14.55%     -5.02%    18.38%     11.22%       2.38%     58.11%
Date 2025 TR
+/- Wells
               -1.23%    -1.45%    +0.79%     -0.70%     -1.47%   -0.76%        -6.59%
Fargo

       109.    When compared to the investment performance of the peer universe within

 the Target Date 2025 Morningstar Category, the breadth and depth of the Wells Fargo 2025

 Fund’s underperformance is stunning. Based on Morningstar data, as of March 31, 2021,

 the Wells Fargo 2025 Fund performed worse than 86% of all peer funds over the preceding

 10-year period, worse than 86% of all peer funds over the preceding 5-year period, and

 worse than 72% of all peer funds over the preceding 3-year period.

       110.    During the Class Period, the assets of the Wells Fargo 2025 Fund averaged

 approximately $700 million. Table 4.c demonstrates the financial significance of this

 underperformance by showing the growth of $700 million invested in the Wells Fargo 2025

 Fund as compared to the growth of $700 million invested in each of the Comparator Funds

 from January 1, 2016 through March 31, 2021.




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                                         Table 4.c

                            January 1, 2016 – March 31, 2021

                                Compounded             Annualized            Growth of
       Fund Name
                                Performance           Performance           $700 Million
 Wells Fargo Target 2025          51.52%                 8.24%              $1.060 billion
 FIAM Blend Target
                                   67.59%                10.34%             $1.173 billion
 Date 2025 T
 +/- Wells Fargo                   -16.07%               -2.10%             -$113 million
 FIAM Index Target Date
                                   63.69%                 9.84%             $1.145 billion
 2025 T
 +/- Wells Fargo                   -12.17%               -1.60%              -$85 million
 State Street Target Ret
                                   66.22%                10.16%             $1.163 billion
 2025 NL Cl W
 +/- Wells Fargo                   -14.70%               -1.92%             -$103 million
 T. Rowe Price Ret
                                   73.58%                11.08%             $1.215 billion
 Hybrid 2025 Tr-T1
 +/- Wells Fargo                   -22.06%               -2.84%             -$155 million
 Vanguard Target
                                   63.76%                 9.85%             $1.146 billion
 Retirement 2025 Trust II
 +/- Wells Fargo                   -12.24%               -1.61%              -$86 million

       5.     Wells Fargo 2030 Fund

       111.   Since inception, the depth of the Wells Fargo 2030 Fund’s underperformance

has undermined the retirement savings of Plan participants since its introduction to the Plan

in 2010. Table 5.a below illustrates over five years of underperformance from inception

leading up to the beginning of the Class Period, relative to benchmark indices and the

Comparator Funds.




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                                      Table 5.a

                         October 1, 2010 – December 31, 2015

                   Fund                   Cumulative Return Annualized Return
 Wells Fargo Target 2030                      41.52%             6.84%
 FIAM Blend Target Date 2030 T                54.20%             8.60%
 FIAM Index Target Date 2030 T                48.00%             7.75%
 State Street Target Ret 2030 NL Cl W         55.32%             8.75%
 T. Rowe Price Ret Hybrid 2030 Tr-T1          60.14%             9.38%
 Vanguard Target Retirement 2030 Trust II     56.86%             8.95%
 S&P Target Date 2030 TR                      52.21%             8.33%
 Dow Jones Global Target Date 2030            45.13%             7.35%

      112.   Monitoring the Plan, any prudent fiduciary would have used one or more of

the indices and Comparator Funds listed in Table 5.a as benchmarks for the performance

of the Wells Fargo 2030 Fund. Despite over five years of substantial underperformance,

the UnitedHealth Defendants did not remove the Wells Fargo Target Fund Suite from the

Plan. Predictably, the fund’s underperformance continued throughout the Class Period.

      113.   Table 5.b illustrates the underperformance of the Wells Fargo 2030 Fund

from January 1, 2016 through March 31, 2021 on an annualized basis relative to

Comparator Funds and the two S&P benchmark indices. Furthermore, the differences in

annual performance are even more pronounced when viewed on a cumulative basis

compounded over time. Thus, as Table 5.b demonstrates, the Wells Fargo 2030 Fund

significantly underperformed the benchmark indices and Comparator Funds on a

cumulative basis.




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                                       Table 5.b

                           January 1, 2016 – March 31, 2021


                                 Annualized Performance                     Cumulative
    Fund                                                                   Compounded
                2016      2017      2018          2019    2020     2021    Performance
Wells Fargo
                7.13%    15.45%     -5.44%    19.91%     10.41%   2.91%      59.35%
Target 2030
FIAM Blend
Target Date     8.55%    18.79%     -6.54%    23.16%     15.86%   2.90%      76.94%
2030 T
+/- Wells
                -1.42%   -3.34%     +1.1%     -3.25%     -5.45    +0.01%     -17.59%
Fargo
FIAM Index
Target Date     8.68%    17.99%     -5.42%    22.33%     14.40%   2.02%      73.16%
2030 T
+/- Wells
                -1.55%   -2.54%     -0.02%    -2.42%     -3.99%   +0.89%     -13.81%
Fargo
State Street
Target Ret      8.20%    17.98%     -6.71%    21.72%     17.53%   1.90%      73.61%
2030 NL Cl W
+/- Wells
                -1.07%   -2.53%    +1.27% -1.81%         -7.12%   +1.01%     -14.26%
Fargo
T. Rowe Price
Ret Hybrid      8.75%    19.22%     -6.15%    22.62%     16.25%   4.12%      80.58%
2030 Tr-T1
+/- Wells
                -1.62%   -3.77%    +0.71% -2.71%         -5.84%   -1.21%     -21.23%
Fargo
Vanguard
Target
                7.93%    17.60%     -5.79%    21.15%     14.19%   2.47%      69.50%
Retirement
2030 Trust II
+/- Wells
                -0.80%   -2.15%    +0.35% -1.24%         -3.78%   +0.44%     -10.15%
Fargo
S&P Target
Date Through    9.08%    17.38%     -6.52%    21.76%     11.82%   3.48%      68.62%
2030 TR
+/- Wells
                -1.95%   -1.93%    +1.08% -1.85%         -1.41%   -0.57%     -9.27%
Fargo
S&P Target
                8.35%    16.19%     -5.99%    20.38%     11.91%   3.24%      64.58%
Date 2030 TR

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                                     Annualized Performance                         Cumulative
    Fund                                                                           Compounded
                     2016     2017      2018         2019       2020      2021     Performance
+/- Wells
                   -1.22%    -0.74%    +0.55% -0.47%           -1.50%     -0.33%      -5.23%
Fargo

            114.   When compared to the investment performance of the peer universe within

  the Target Date 2030 Morningstar Category, the breadth and depth of the Wells Fargo 2030

  Fund’s underperformance is stunning. Based on Morningstar data, as of March 31, 2021,

  the Wells Fargo 2030 Fund performed worse than 83% of all peer funds over the preceding

  10-year period, worse than 77% of all peer funds over the preceding 5-year period, and

  worse than 67% of all peer funds over the preceding 3-year period.

            115.   During the Class Period, the assets of the Wells Fargo 2030 Fund averaged

  approximately $800 million. Table 5.c demonstrates the financial significance of this

  underperformance by showing the growth of $800 million invested in the Wells Fargo 2030

  Fund as compared to the growth of $800 million invested in each of the Comparator Funds

  from January 1, 2016 through March 31, 2021.

                                            Table 5.c

                                January 1, 2016 – March 31, 2021

                                   Compounded                Annualized        Growth of
            Fund Name
                                   Performance              Performance       $800 Million
   Wells Fargo Target 2030           59.35%                    9.28%          $1.274 billion
   FIAM Blend Target
                                       76.94%                 11.49%          $1.415 billion
   Date 2030 T
   +/- Wells Fargo                    -17.59%                 -2.21%          -$141 million
   FIAM Index Target Date
                                       73.16%                 11.02%          $1.385 billion
   2030 T
   +/- Wells Fargo                    -13.81%                 -1.74%          -$111 million

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                              Compounded            Annualized          Growth of
       Fund Name
                              Performance          Performance         $800 Million
 State Street Target Ret
                                 73.61%              11.08%           $1.388 billion
 2030 NL Cl W
 +/- Wells Fargo                 -14.26%             -1.80%           -$114 million
 T. Rowe Price Ret
                                 80.58%              11.92%           $1.444 billion
 Hybrid 2030 Tr-T1
 +/- Wells Fargo                 -21.23%             -2.64%           -$170 million
 Vanguard Target
                                 69.50%              10.57%           $1.356 billion
 Retirement 2030 Trust II
 +/- Wells Fargo                 -10.15%             -1.29%            -$82 million

      6.     Wells Fargo 2035 Fund

      116.   Since its introduction to the Plan in 2010 the Wells Fargo 2035 Fund has

undermined the retirement savings of Plan participants. Table 6.a below illustrates over

five years of underperformance from inception leading up to the beginning of the Class

Period, relative to benchmark indices and the Comparator Funds.

                                       Table 6.a

                         October 1, 2010 – December 31, 2015

                   Fund                   Cumulative Return Annualized Return
 Wells Fargo Target 2035                      47.06%             7.62%
 FIAM Blend Target Date 2035 T                58.72%             9.20%
 FIAM Index Target Date 2035 T                52.42%             8.36%
 State Street Target Ret 2035 NL Cl W         56.21%             8.87%
 T. Rowe Price Ret Hybrid 2035 Tr-T1          62.85%             9.73%
 Vanguard Target Retirement 2035 Trust II     60.76%             9.46%
 S&P Target Date 2035 TR                      55.31%             8.75%
 Dow Jones Global Target Date 2035            50.45%             8.09%

      117.   Monitoring the Plan, any prudent fiduciary would have used one or more of

the indices and Comparator Funds listed in Table 6.a as benchmarks for the performance


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 of the Wells Fargo 2035 Fund. Despite over five years of substantial underperformance,

 the UnitedHealth Defendants did not remove the Wells Fargo Target Fund Suite from the

 Plan. Predictably, the fund’s underperformance continued throughout the Class Period.

       118.    Table 6.b illustrates the underperformance of the Wells Fargo 2035 Fund

 from January 1, 2016 through March 31, 2021 on an annualized basis relative to

 Comparator Funds and the two S&P benchmark indices. Furthermore, the differences in

 annual performance are even more pronounced when viewed on a cumulative basis

 compounded over time. Thus, as Table 6.b demonstrates, the Wells Fargo 2035 Fund

 significantly underperformed the benchmark indices and Comparator Funds on a

 cumulative basis.

                                       Table 6.b

                            January 1, 2016 – March 31, 2021

                                Annualized Performance                      Cumulative
    Fund                                                                     Compound
                  2016     2017      2018         2019     2020     2021    Performance
Wells Fargo
                 9.21%    17.63%    -6.47%       21.81%   10.65%   4.21%       68.77%
Target 2035
FIAM Blend
Target Date      8.98%    20.88%    -7.83%       26.10%   17.45%   4.23%       87.44%
2035 T
+/- Wells
                 -0.23%   -3.25%    +1.36%       -4.29%   -6.80%   -0.02%      -18.67%
Fargo
FIAM Index
Target Date      9.42%    20.40%    -6.68%       25.09%   15.65%   3.23%       83.59%
2035 T
+/- Wells
                 -0.21%   -2.77%    +0.21%       -3.28%   -5.00%   +0.98%      -14.82%
Fargo
State Street
Target Ret       8.53%    19.38%    -7.34%       22.89%   18.42%   2.28%       78.69%
2035 NL Cl W

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                                 Annualized Performance                        Cumulative
    Fund                                                                        Compound
                   2016      2017      2018         2019     2020      2021    Performance
+/- Wells
                 +0.68%     -1.75%   +0.87%        -1.08%   -7.77%    +1.93%     -9.92%
Fargo
T. Rowe Price
Ret Hybrid        9.01%    20.52%     -6.66%       23.97%   17.02%    4.81%      86.45%
2035 Tr-T1
+/- Wells
                 +0.20%     -2.89%   +0.19%        -2.16%   -6.37%    -0.60%    -17.68%
Fargo
Vanguard
Target
                  8.37%    19.18%     -6.54%       22.57%   14.92%    3.14%      75.36%
Retirement
2035 Trust II
+/- Wells
                 +0.84%     -1.55%   +0.07%        -0.76%   -4.27%    +1.07%     -6.59%
Fargo
S&P Target
Date Through      9.48%    18.72%     -7.07%       23.11%   12.76%    4.36%      74.97%
2035 TR
+/- Wells
                  -0.27%    -1.09%   +0.60%        -1.30%   -2.11%    -0.15%     -6.20%
Fargo
S&P Target
                  8.85%    17.78%     -6.88%       22.18%   12.79%    4.22%      71.46%
Date 2035 TR
+/- Wells
                 +0.36%     -0.15%   +0.41%        -0.37%   -2.14%    -0.01%     -2.69%
Fargo

       119.     When compared to the investment performance of the peer universe within

 the Target Date 2035 Morningstar Category, the breadth and depth of the Wells Fargo 2035

 Fund’s underperformance is stunning. Based on Morningstar data, as of March 31, 2021,

 the Wells Fargo 2035 Fund performed worse than 74% of all peer funds over the preceding

 10-year period, worse than 77% of all peer funds over the preceding 5-year period, and

 worse than 70% of all peer funds over the preceding 3-year period.

       120.     During the Class Period, the assets of the Wells Fargo 2035 Fund averaged

 approximately $800 million. Table 6.c demonstrates the financial significance of this

 underperformance by showing the growth of $800 million invested in the Wells Fargo 2035
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Fund as compared to the growth of $800 million invested in each of the Comparator Funds

from January 1, 2016 through March 31, 2021.

                                       Table 6.c

                           January 1, 2016 – March 31, 2021

                                    Compounded         Annualized        Growth of
             Fund Name
                                    Performance       Performance       $800 Million
 Wells Fargo Target 2035               68.77%           10.48%          $1.350 billion
 FIAM Blend Target Date 2035 T         87.44%           12.72%          $1.499 billion
 +/- Wells Fargo                      -18.67%            -2.24%         -$149 million
 FIAM Index Target Date 2035 T         83.59%           12.27%          $1.468 billion
 +/- Wells Fargo                      -14.82%            -1.79%         -$118 million
 State Street Target Ret 2035 NL
                                       78.69%            11.69%         $1.429 billion
 Cl W
 +/- Wells Fargo                       -9.92%            -1.21%         -$79 million
 T. Rowe Price Ret Hybrid 2035
                                       86.45%            12.60%         $1.491 billion
 Tr-T1
 +/- Wells Fargo                       -17.68%           -2.12%         -$141 million
 Vanguard Target Retirement
                                       75.36%            11.29%         $1.402 billion
 2035 Trust II
 +/- Wells Fargo                       -6.59%            -0.81%         -$52 million

      7.      Wells Fargo 2040 Fund

      121.    Since its introduction to the Plan in 2010, the Wells Fargo 2040 Fund has

undermined the retirement savings of Plan participants. Table 7.a below illustrates over

five years of underperformance from inception leading up to the beginning of the Class

Period, relative to benchmark indices and the Comparator Funds.




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                                      Table 7.a

                         October 1, 2010 – December 31, 2015

                   Fund                   Cumulative Return Annualized Return
 Wells Fargo Target 2040                      50.90%             8.15%
 FIAM Blend Target Date 2040 T                59.34%             9.28%
 FIAM Index Target Date 2040 T                53.15%             8.46%
 State Street Target Ret 2040 NL Cl W         56.60%             8.92%
 T. Rowe Price Ret Hybrid 2040 Tr-T1          64.52%             9.95%
 Vanguard Target Retirement 2040 Trust II     62.37%             9.67%
 S&P Target Date 2040 TR                      57.45%             9.03%
 Dow Jones Global Target Date 2040            54.30%             8.61%

      122.   Monitoring the Plan, any prudent fiduciary would have used one or more of

the indices and Comparator Funds listed in Table 7.a as benchmarks for the performance

of the Wells Fargo 2040 Fund. Despite over five years of substantial underperformance,

the UnitedHealth Defendants did not remove the Wells Fargo Target Fund Suite from the

Plan. Predictably, the fund’s underperformance continued throughout the Class Period.

      123.   Table 7.b illustrates the underperformance of the Wells Fargo 2040 Fund

from January 1, 2016 through March 31, 2021 on an annualized basis relative to

Comparator Funds and the two S&P benchmark indices. Furthermore, the differences in

annual performance are even more pronounced when viewed on a cumulative basis

compounded over time. Thus, as Table 7.b demonstrates, the Wells Fargo 2040 Fund

significantly underperformed the benchmark indices and Comparator Funds on a

cumulative basis.




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                                     Table 7.b

                          January 1, 2016 – March 31, 2021


                              Annualized Performance                      Cumulative
    Fund                                                                   Compound
                 2016     2017     2018         2019     2020     2021    Performance
Wells Fargo
                9.82%    19.60%   -7.10%       22.82%   10.61%   5.06%      74.16%
Target 2040
FIAM Blend
Target Date     9.02%    21.08%   -8.38%       27.07%   18.57%   5.19%      91.66%
2040 T
+/- Wells
                +0.80%   -1.48%   +1.28%       -4.25%   -7.96%   -0.13%     -17.5%
Fargo
FIAM Index
Target Date     9.47%    20.59%   -7.19%       26.29%   16.53%   4.09%      87.68%
2040 T
+/- Wells
                +0.35%   -0.99%   +0.09%       -3.47%   -5.92%   +0.97%    -13.52%
Fargo
State Street
Target Ret      8.99%    20.39%   -7.91%       23.86%   18.96%   2.76%      82.95%
2040 NL Cl W
+/- Wells
                +0.83%   -0.79%   +0.81%       -1.04%   -8.35%   +2.30%     -8.79%
Fargo
T. Rowe Price
Ret Hybrid      9.17%    21.49%   -7.06%       25.09%   17.80%   5.36%      91.40%
2040 Tr-T1
+/- Wells
                +0.65%   -1.89%   -0.04%       -2.27%   -7.19%   -0.30%    -17.24%
Fargo
Vanguard
Target
                8.79%    20.81%   -7.30%       23.97%   15.57%   3.80%      81.20%
Retirement
2040 Trust II
+/- Wells
                +1.03%   -1.21%   +0.20%       -1.15%   -4.96%   +1.26%     -7.04%
Fargo
S&P Target
Date Through    9.80%    19.79%   -7.63%       24.25%   13.46%   5.07%      79.97%
2040 TR
+/- Wells
                +0.02%   -0.19%   +0.53%       -1.43%   -2.85%   -0.01%     -5.81%
Fargo
S&P Target
                9.23%    18.87%   -7.41%       23.37%   13.37%   4.93%      76.42%
Date 2040 TR

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                                Annualized Performance                         Cumulative
    Fund                                                                        Compound
                  2016      2017      2018        2019       2020      2021    Performance
+/- Wells
                 +0.59% +0.73% +0.31%             -0.55%    -2.76%    +0.13%     -2.26%
Fargo

        124.   When compared to the investment performance of the peer universe within

 the Target Date 2040 Morningstar Category, the breadth and depth of the Wells Fargo 2040

 Fund’s underperformance is stunning. Based on Morningstar data, as of March 31, 2021,

 the Wells Fargo 2040 Fund performed worse than 72% of all peer funds over the preceding

 10-year period, worse than 63% of all peer funds over the preceding 5-year period, and

 worse than 78% of all peer funds over the preceding 3-year period.

        125.   During the Class Period, the assets of the Wells Fargo 2040 Fund averaged

 approximately $700 million. Table 7.c demonstrates the financial significance of this

 underperformance by showing the growth of $700 million invested in the Wells Fargo 2040

 Fund as compared to the growth of $700 million invested in each of the Comparator Funds

 from January 1, 2016 through March 31, 2021.

                                        Table 7.c

                            January 1, 2016 – March 31, 2021

                                Compounded             Annualized         Growth of
            Fund Name
                                Performance           Performance        $700 Million
  Wells Fargo Target 2040         74.16%                11.15%           $1.219 billion
  FIAM Blend Target Date
                                    91.66%                 13.20%        $1.342 billion
  2040 T
  +/- Wells Fargo                   -17.5%                 -2.05%         -$132 million
  FIAM Index Target Date
                                    87.68%                 12.74%        $1.313 billion
  2040 T
  +/- Wells Fargo                  -13.52%                 -1.59%         -$94 million

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                               Compounded             Annualized        Growth of
        Fund Name
                               Performance           Performance       $700 Million
 State Street Target Ret
                                  82.95%               12.19%          $1.280 billion
 2040 NL Cl W
 +/- Wells Fargo                   -8.79%              -1.04%           $61 million
 T. Rowe Price Ret Hybrid
                                  91.40%               13.16%          $1.339 billion
 2040 Tr-T1
 +/- Wells Fargo                  -17.24%              -2.01%          -$120 million
 Vanguard Target
                                  81.20%               11.99%          $1.268 billion
 Retirement 2040 Trust II
 +/- Wells Fargo                   -7.04%              -0.84%           $49 million

      8.     Wells Fargo 2045 Fund

      126.   Since its introduction to the Plan in 2010, the Wells Fargo 2045 Fund has

undermined the retirement savings of Plan participants. Table 8.a below illustrates over

five years of underperformance from inception leading up to the beginning of the Class

Period, relative to benchmark indices and the Comparator Funds.

                                       Table 8.a

                          October 1, 2010 – December 31, 2015

                                                   Cumulative         Annualized
                   Fund
                                                    Return             Return
 Wells Fargo Target 2045                            54.01%              8.57%
 FIAM Blend Target Date 2045 T                      60.51%              9.43%
 FIAM Index Target Date 2045 T                      54.04%              8.58%
 State Street Target Ret 2045 NL Cl W               56.54%              8.91%
 T. Rowe Price Ret Hybrid 2045 Tr-T1                64.41%              9.93%
 Vanguard Target Retirement 2045 Trust II           62.45%              9.68%
 S&P Target Date 2045 TR                            58.95%              9.23%
 Dow Jones Global Target Date 2045                  56.19%              8.86%

      127.   Monitoring the Plan, any prudent fiduciary would have used one or more of

the indices and Comparator Funds listed in Table 8.a as benchmarks for the performance

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 of the Wells Fargo 2045 Fund. Despite over five years of substantial underperformance,

 the UnitedHealth Defendants did not remove the Wells Fargo Target Fund Suite from the

 Plan. Predictably, the fund’s underperformance continued throughout the Class Period.

       128.    Table 8.b illustrates the underperformance of the Wells Fargo 2045 Fund

 from January 1, 2016 through March 31, 2021 on an annualized basis relative to

 Comparator Funds and the two S&P benchmark indices. Furthermore, the differences in

 annual performance are even more pronounced when viewed on a cumulative basis

 compounded over time. Thus, as Table 8.b demonstrates, the Wells Fargo 2045 Fund

 significantly underperformed the benchmark indices and Comparator Funds on a

 cumulative basis.

                                       Table 8.b

                            January 1, 2016 – March 31, 2021


                                Annualized Performance                      Cumulative
    Fund                                                                     Compound
                  2016     2017      2018         2019     2020     2021    Performance
Wells Fargo
                10.34%    20.13%    -7.29%       23.36%   10.55%   5.52%       76.68%
Target 2045
FIAM Blend
Target Date      9.06%    21.05%    -8.40%       27.07%   18.59%   5.17%       91.65%
2045 T
+/- Wells
                +1.28%    -0.92%    +1.11%       -3.71%   -8.04%   +0.35%      -14.97%
Fargo
FIAM Index
Target Date      9.46%    20.59%    -7.14%       26.22%   16.57%   4.10%       87.74%
2045 T
+/- Wells
                +0.88%    -0.46%    -0.15%       -2.86%   -6.02%   +1.42%      -11.06%
Fargo
State Street
Target Ret       9.33%    21.26%    -8.47%       24.74%   19.47%   3.21%       86.65%
2045 NL Cl W
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                                 Annualized Performance                        Cumulative
    Fund                                                                        Compound
                   2016      2017      2018         2019     2020      2021    Performance
+/- Wells
                 +1.01%     -1.13%   +1.18%        -1.38%   -8.92%    +2.31%     -9.97%
Fargo
T. Rowe Price
Ret Hybrid        9.24%    21.96%     -7.36%       25.79%   18.18%    5.80%      94.11%
2045 Tr-T1
+/- Wells
                 +1.10%     -1.83%   +0.07%        -2.43%   -7.63%    -0.28%    -17.43%
Fargo
Vanguard
Target
                  8.91%    21.51%     -7.86%       25.07%   16.27%    4.46%      85.22%
Retirement
2045 Trust II
+/- Wells
                 +1.43%     -1.38%   +0.57%        -1.71%   -5.72%    +1.06%    -17.43%
Fargo
S&P Target
Date Through     10.04%    20.30%     -7.94%       24.76%   14.15%    5.54%      83.17%
2045 TR
+/- Wells
                 +0.30%     -0.17%   +0.65%        -1.40%   -3.60%    -0.02%     -8.54%
Fargo
S&P Target
                  9.54%    19.56%     -7.74%       24.02%   13.66%    5.33%      79.40%
Date 2045 TR
+/- Wells
                 +0.80% +0.57% +0.45%              -0.66%   -3.11%    +0.19%     -2.72%
Fargo

       129.     When compared to the investment performance of the peer universe within

 the Target Date 2045 Morningstar Category, the breadth and depth of the Wells Fargo 2045

 Fund’s underperformance is stunning. Based on Morningstar data, as of March 31, 2021,

 the Wells Fargo 2045 Fund performed worse than 71% of all peer funds over the preceding

 10-year period, worse than 70% of all peer funds over the preceding 5-year period, and

 worse than 85% of all peer funds over the preceding 3-year period.

       130.     During the Class Period, the assets of the Wells Fargo 2045 Fund averaged

 approximately $600 million. Table 8.c demonstrates the financial significance of this

 underperformance by showing the growth of $600 million invested in the Wells Fargo 2045
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Fund as compared to the growth of $600 million invested in each of the Comparator Funds

from January 1, 2016 through March 31, 2021.

                                       Table 8.c

                            January 1, 2016 – March 31, 2021

                              Compounded            Annualized         Growth of
       Fund Name
                              Performance          Performance        $600 Million
 Wells Fargo Target 2045        76.68%               11.45%           $1.060 billion
 FIAM Blend Target
                                 91.65%              13.20%           $1.150 billion
 Date 2045 T
 +/- Wells Fargo                 -14.97%             -1.75%            -$90 million
 FIAM Index Target Date
                                 87.74%              12.75%           $1.126 billion
 2045 T
 +/- Wells Fargo                 -11.06%             -1.30%            -$66 million
 State Street Target Ret
                                 86.65%              12.62%           $1.119 billion
 2045 NL Cl W
 +/- Wells Fargo                  -9.97%             -1.17%            -$59 million
 T. Rowe Price Ret
                                 94.11%              13.47%           $1.164 billion
 Hybrid 2045 Tr-T1
 +/- Wells Fargo                 -17.43%             -2.02%           -$104 million
 Vanguard Target
                                 85.22%              12.46%           $1.111 billion
 Retirement 2045 Trust II
 +/- Wells Fargo                  -8.54%             -1.01%            -$51 million

      9.     Wells Fargo 2050 Fund

      131.   Since its introduction to the Plan in 2010, the Wells Fargo 2050 Fund’s

underperformance has undermined the retirement savings of Plan participants. Table 9.a

below illustrates over five years of underperformance from inception leading up to the

beginning of the Class Period, relative to benchmark indices and the Comparator Funds.




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                                        Table 9.a

                         October 1, 2010 – December 31, 2015

                   Fund                   Cumulative Return Annualized Return
 Wells Fargo Target 2050                      54.57%             8.65%
 FIAM Blend Target Date 2050 T                61.01%             9.49%
 FIAM Index Target Date 2050 T                54.90%             8.69%
 State Street Target Ret 2050 NL Cl W         59.17%             9.25%
 T. Rowe Price Ret Hybrid 2050 Tr-T1          64.38%             9.93%
 Vanguard Target Retirement 2050 Trust II     62.12%             9.64%
 S&P Target Date 2050 TR                      60.22%             9.39%
 Dow Jones Global Target Date 2050            56.36%             8.99%

      132.   Monitoring the Plan, any prudent fiduciary would have used one or more of

the indices and Comparator Funds listed in Table 9.a as benchmarks for the performance

of the Wells Fargo 2050 Fund. Despite over five years of substantial underperformance,

the UnitedHealth Defendants did not remove the Wells Fargo Target Fund Suite from the

Plan. Predictably, the fund’s underperformance continued throughout the Class Period.

      133.   Table 9.b illustrates the underperformance of the Wells Fargo 2050 Fund

from January 1, 2016 through March 31, 2021 on an annualized basis relative to

Comparator Funds and the two S&P benchmark indices. Furthermore, the differences in

annual performance are even more pronounced when viewed on a cumulative basis

compounded over time. Thus, as Table 9.b demonstrates, the Wells Fargo 2050 Fund

significantly underperformed the benchmark indices and Comparator Funds on a

cumulative basis.




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                                          Table 9.b
                               January 1, 2016 – March 31, 2021


                                   Annualized Performance                      Cumulative
    Fund                                                                        Compound
                     2016     2017      2018         2019     2020     2021    Performance
Wells Fargo
                    10.79%   19.81% -7.35%          23.30%   10.57%   5.49%      76.89%
Target 2050
FIAM Blend
Target Date         9.05%    21.02%    -8.35%       27.01%   18.61%   5.16%      91.60%
2050 T
+/- Wells Fargo    +1.74%    -1.21%    +1.00%       -3.71%   -8.04%   +0.33%     -14.71%
FIAM Index
Target Date         9.49%    20.53%    -7.14%       26.29%   16.53%   4.09%      87.72%
2050 T
+/- Wells Fargo    +1.30%    -0.72%    -0.21%       -2.99%   -5.96%   +1.40%     -10.83%
State Street
Target Ret 2050     9.32%    21.25%    -8.58%       24.98%   19.87%   3.49%      87.89%
NL Cl W
+/- Wells Fargo    +1.47%    -1.44%    +1.23%       -1.68%   -9.30%   +2.00%     -11.00%
T. Rowe Price
Ret Hybrid          9.29%    21.91%    -7.35%       25.79%   18.19%   5.82%      94.19%
2050 Tr-T1
+/- Wells Fargo    +1.50%    -2.10%     0.00%       -2.49%   -7.62%   -0.33%     -17.30%
Vanguard
Target
                    8.95%    21.48%    -7.83%       25.05%   16.42%   4.57%      85.70%
Retirement 2050
Trust II
+/- Wells Fargo    +1.84%    -1.67%    +0.48%       -1.75%   -5.85%   +0.92%     -8.81%
S&P Target
Date Through        10.19%   20.65%    -8.01%       24.92%   14.31%   5.64%      84.46%
2050 TR
+/- Wells Fargo    +0.60%    -0.84%    +0.66%       -1.62%   -3.74%   -0.15%     -7.57%
S&P Target
                    9.74%    20.18%    -7.94%       24.35%   13.86%   5.57%      81.48%
Date 2050 TR
+/- Wells Fargo    +1.05%    -0.37%    +0.59%       -1.05%   -3.29%   -0.08%     -4.59%

        134.      When compared to the investment performance of the peer universe within

  Target Date 2050 Morningstar Category, the breadth and depth of the Wells Fargo 2050

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Fund’s underperformance is stunning. Based on Morningstar data, as of March 31, 2021,

the Wells Fargo 2050 Fund performed worse than 72% of all peer funds over the preceding

10-year period, worse than 79% of all peer funds over the preceding 5-year period, and

worse than 89% of all peer funds over the preceding 3-year period.

      135.   During the Class Period, the assets of the Wells Fargo 2050 Fund averaged

approximately $350 million. Table 9.c demonstrates the financial significance of this

underperformance by showing the growth of $350 million invested in the Wells Fargo 2050

Fund as compared to the growth of $350 million invested in each of the Comparator Funds

from January 1, 2016 through March 31, 2021.

                                       Table 9.c

                            January 1, 2016 – March 31, 2021

                               Compounded           Annualized         Growth of
        Fund Name
                               Performance         Performance        $350 Million
 Wells Fargo Target 2050         76.89%              11.48%          $619.1 million
 FIAM Blend Target Date
                                  91.60%              13.19%         $670.6 million
 2050 T
 +/- Wells Fargo                  -14.71%             -1.71%          -$51.5 million
 FIAM Index Target Date
                                  87.72%              12.74%         $657.0 million
 2050 T
 +/- Wells Fargo                  -10.83%             -1.26%          -$37.9 million
 State Street Target Ret
                                  87.89%              12.76%         $657.6 million
 2050 NL Cl W
 +/- Wells Fargo                  -11.00%             -1.28%          -$38.5 million
 T. Rowe Price Ret Hybrid
                                  94.19%              13.47%         $679.6 million
 2050 Tr-T1
 +/- Wells Fargo                  -17.30%             -1.99%          -$60.5 million
 Vanguard Target
                                  85.70%              12.51%         $649.9 million
 Retirement 2050 Trust II
 +/- Wells Fargo                  -8.81%              -1.03%          -$30.8 million


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         10.    Wells Fargo 2055 Fund

         136.   Despite over five years of substantial underperformance by the Wells Fargo

Target Fund Suite, the UnitedHealth Defendants added the Wells Fargo 2055 Fund to the

Plan in 2013. By 2014, the Wells Fargo 2055 Fund had attracted $30 million in assets from

Plan participants. Table 10.a below illustrates two years of underperformance leading up

to the beginning of the Class Period, relative to benchmark indices and the Comparator

Funds.

                                        Table 10.a

                            January 1, 2014 – December 31, 2015

                                                   Cumulative            Annualized
                     Fund
                                                    Return                Return
 Wells Fargo Target 2055                             3.16%                 1.57%
 FIAM Blend Target Date 2055 T                       6.22%                 3.07%
 FIAM Index Target Date 2055 T                       6.22%                 3.05%
 State Street Target Ret 2055 NL Cl W                3.66%                 1.81%
 T. Rowe Price Ret Hybrid 2055 Tr-T1                 5.84%                 2.88%
 Vanguard Target Retirement 2055 Trust II            5.48%                 2.70%
 S&P Target Date 2055 TR                             5.07%                 2.50%
 Dow Jones Global Target Date 2055 Index             3.83%                 1.90%

    137.        Monitoring the Plan, any prudent fiduciary would have used one or more of

the indices and Comparator Funds listed in Table 10.a as benchmarks for the performance

of the Wells Fargo 2055 Fund. Despite substantial underperformance, the UnitedHealth

Defendants did not remove the Wells Fargo Target Fund Suite from the Plan. Predictably,

the fund’s underperformance continued throughout the Class Period.




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        138.      Table 10.b illustrates the underperformance of the Wells Fargo 2055 Fund

 from January 1, 2016 through March 31, 2021 on an annualized basis relative to

 Comparator Funds and the two S&P benchmark indices. Furthermore, the differences in

 annual performance are even more pronounced when viewed on a cumulative basis

 compounded over time. Thus, as Table 10.b demonstrates, the Wells Fargo 2055 Fund

 significantly underperformed the benchmark indices and Comparator Funds on a

 cumulative basis.

                                          Table 10.b

                               January 1, 2016 – March 31, 2021


                                   Annualized Performance                      Cumulative
    Fund                                                                        Compound
                     2016      2017     2018         2019     2020     2021    Performance
Wells Fargo
                    10.79%   19.89%    -7.37%       23.32%   10.54%   5.52%      76.97%
Target 2055
FIAM Blend
Target Date         9.07%    21.06%    -8.33%       27.04%   18.62%   5.13%      91.73%
2055 T
+/- Wells Fargo     +1.72%    -1.17%   +0.96%       -3.72%   -8.08%   +0.39%     -14.76%
FIAM Index
Target Date         9.46%    20.59%    -7.17%       26.21%   16.55%   4.11%      87.65%
2055 T
+/- Wells Fargo     +1.33%    -0.70%   -0.20%       -2.89%   -6.01%   +1.41%     -10.68%
State Street
Target Ret 2055     9.50%    21.26%    -8.58%       24.98%   19.85%   3.49%      88.17%
SL Cl I
+/- Wells Fargo     +1.29%    -1.37%   +1.21%       -1.66%   -9.31%   +2.03%     -11.20%
T. Rowe Price
Ret Hybrid          9.26%    21.94%    -7.33%       25.78%   18.17%   5.81%      94.17%
2055 Tr-T1
+/- Wells Fargo     +1.53%    -2.05%   -0.04%       -2.46%   -7.63%   -0.29%     -17.20%
Vanguard
                    8.97%    21.49%    -7.85%       25.07%   16.41%   4.55%      85.69%
Target


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                                 Annualized Performance                      Cumulative
    Fund                                                                      Compound
                  2016      2017      2018        2019     2020      2021    Performance
Retirement
2055 Trust II
+/- Wells Fargo +1.82% -1.60% +0.48% -1.75%              -5.87%    +0.97%        -8.72%
S&P Target
Date Through    10.24% 20.75% -8.10% 25.00%              14.31%     5.67%        84.71%
2055 TR
+/- Wells Fargo +0.55% -0.86% +0.73% -1.68%              -3.77%     -0.15%       -7.74%
S&P Target
                9.94% 20.48% -7.97% 24.48%               13.86%     5.67%        82.55%
Date 2055 TR
+/- Wells Fargo +0.85% -0.59% +0.60% -1.16%              -3.32%     -0.15%       -5.58%

       139.   When compared to the investment performance of the peer universe within

 the Target Date 2055 Morningstar Category, the breadth and depth of the Wells Fargo 2055

 Fund’s underperformance is stunning. Based on Morningstar data, as of March 31, 2021,

 the Wells Fargo 2055 Fund performed worse than 84% of all peer funds over the preceding

 5-year period, and worse than 91% of all peer funds over the preceding 3-year period.

       140.   During the Class Period, the assets of the Wells Fargo 2055 Fund averaged

 approximately $135 million. Table 10.c demonstrates the financial significance of this

 underperformance by showing the growth of $135 million invested in the Wells Fargo 2055

 Fund as compared to the growth of $135 million invested in each of the Comparator Funds

 from January 1, 2016 through March 31, 2021.




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                                        Table 10.c

                             January 1, 2016 – March 31, 2021

                                Compounded            Annualized          Growth of
       Fund Name
                                Performance          Performance         $135 Million
 Wells Fargo Target 2055          76.97%               11.49%           $238.9 million
 FIAM Blend Target
                                   91.73%              13.20%           $258.8 million
 Date 2055 T
 +/- Wells Fargo                   -14.76%              -1.71%          -$19.9 million
 FIAM Index Target Date
                                   87.65%              12.74%           $253.3 million
 2055 T
 +/- Wells Fargo                   -10.68%              -1.25%          -$14.4 million
 State Street Target Ret
                                   88.17%              12.80%           $254.0 million
 2055 NL Cl W
 +/- Wells Fargo                   -11.20%              -1.31%          -$15.1 million
 T. Rowe Price Ret
                                   94.17%              13.47%           $262.1 million
 Hybrid 2055 Tr-T1
 +/- Wells Fargo                   -17.20%              -1.98%           -23.2 million
 Vanguard Target
                                   85.69%              12.51%           $250.6 million
 Retirement 2055 Trust II
 +/- Wells Fargo                   -8.72%               -1.02%          -$11.7 million

      11.       Wells Fargo 2060 Fund

      141.      Despite over five years of substantial underperformance by the Wells Fargo

Target Fund Suite, the UnitedHealth Defendants added the Wells Fargo 2060 Fund to the

Plan in 2015. Predictably, the Wells Fargo 2060 Fund underperformed throughout the

Class Period.

      142.      Table 11.b illustrates the underperformance of the Wells Fargo 2060 Fund

from January 1, 2016 through March 31, 2021 on an annualized basis relative to

Comparator Funds and the two S&P benchmark indices. Furthermore, the differences in

annual performance are even more pronounced when viewed on a cumulative basis


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 compounded over time. Thus, as Table 11.b demonstrates, the Wells Fargo 2060 Fund

 significantly underperformed the benchmark indices and Comparator Funds on a

 cumulative basis.

                                    Table 11.b

                          January 1, 2016 – March 31, 2021


                             Annualized Performance                       Cumulative
    Fund                                                                   Compound
                 2016     2017     2018         2019     2020     2021    Performance
Wells Fargo
                10.84%   20.36%   -7.31%       23.35%   10.53%   5.55%      77.93%
Target 2060
FIAM Blend
Target Date     9.19%    21.19%   -8.37%       27.04%   18.56%   5.18%      92.09%
2060 T
+/- Wells
                +1.65%   -0.83%   +1.06%       -3.69%   -8.03%   +0.37%     -14.16%
Fargo
FIAM Index
Target Date     9.44%    20.55%   -7.16%       26.27%   16.59%   4.07%      87.66%
2060 T
+/- Wells
                +1.40%   -0.19%   -0.15%       -2.92%   -6.06%   +1.48%     -9.73%
Fargo
State Street
Target Ret      9.50%    21.26%   -8.58%       24.98%   19.85%   3.49%      88.19%
2060 NL Cl W
+/- Wells
                +1.34%   -0.90%   +1.27%       -1.63%   -9.32%   +2.06%     -10.26%
Fargo
T. Rowe Price
Ret Hybrid      9.10%    21.94%   -7.36%       25.84%   18.11%   5.83%      93.87%
2060 Tr-T1
+/- Wells
                +1.74%   -1.58%   +0.05%       -2.49%   -7.58%   -0.28%     -15.94%
Fargo
Vanguard
Target
                8.95%    21.51%   -7.85%       25.09%   16.50%   4.54%      85.84%
Retirement
2060 Trust II
+/- Wells
                +1.89%   -1.15%   +0.54%       -1.74%   -5.97%   +1.01%     -7.91%
Fargo


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                                Annualized Performance                       Cumulative
    Fund                                                                      Compound
                 2016      2017       2018         2019     2020     2021    Performance
S&P Target
Date Through      N/A     20.85%     -8.11%       25.09%   14.37%   5.60%         N/A
2060 TR
+/- Wells
                  N/A     -0.49%    +0.80%        -1.74%   -3.84%   -0.05%        N/A
Fargo
S&P Target
                  N/A     20.75%     -7.95%       24.73%   13.99%   5.61%         N/A
Date 2060 TR
+/- Wells
                  N/A     -0.39%    +0.64%        -1.38%   -3.46%   -0.06%        N/A
Fargo

       143.    When compared to the investment performance of the peer universe within

 the Target Date 2060 Morningstar Category, the breadth and depth of the Wells Fargo 2060

 Fund’s underperformance is stunning. Based on Morningstar data, as of March 31, 2021,

 the Wells Fargo 2060 Fund performed worse than 81% of all peer funds over the preceding

 5-year period, and worse than 89% of all peer funds over the preceding 3-year period.

       144.    During the Class Period, the assets of the Wells Fargo 2060 Fund averaged

 approximately $35 million. Table 11.c demonstrates the financial significance of this

 underperformance by showing the growth of $35 million invested in the Wells Fargo 2060

 Fund as compared to the growth of $35 million invested in each of the Comparator Funds

 from January 1, 2016 through March 31, 2021.




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                                           Table 11.c
                              January 1, 2016 – March 31, 2021

                                 Compounded              Annualized             Growth of
        Fund Name
                                 Performance            Performance             35 Million
 Wells Fargo Target 2060           77.93%                 11.60%               $62.2 million
 FIAM Blend Target
                                     92.09%                13.24%              $67.2 million
 Date 2060 T
 +/- Wells Fargo                    -14.16%                -1.64%               -$5 million
 FIAM Index Target Date
                                     87.66%                12.74%              $65.6 million
 2060 T
 +/- Wells Fargo                     -9.73%                -1.14%              -$3.4 million
 State Street Target Ret
                                     88.19%                12.80%              $65.8 million
 2060 NL Cl W
 +/- Wells Fargo                    -10.26%                -1.20%              -$3.6 million
 T. Rowe Price Ret
                                     93.87%                13.44%              $67.8 million
 Hybrid 2060 Tr-T1
 +/- Wells Fargo                    -15.94%                -1.84%              -$5.6 million
 Vanguard Target
                                     85.84%                12.53%              $65.0 million
 Retirement 2060 Trust II
 +/- Wells Fargo                     -7.91%                -0.93%              -$2.8 million

       IX.     CLASS ACTION ALLEGATIONS

       145.    29 U.S.C. §1132(a)(2) authorizes any participant or beneficiary of the Plan

to bring an action to enforce a breaching fiduciary’s liability to the Plan under 29 U.S.C.

§1109(a).

       146.    In acting in this representative capacity and to enhance the due process

protections of unnamed participants and beneficiaries of the Plan, as an alternative to direct

individual actions on behalf of the Plan under 29 U.S.C. §1132(a)(2), Plaintiff seeks to

certify this action as a class action on behalf of all participants and beneficiaries of the Plan.

Specifically, Plaintiff seeks to certify, and to be appointed as representative of, the

following Class:
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              All participants and beneficiaries of the Plan who invested in the Wells Fargo

              Target Fund Suite from April 23, 2015 through the date of judgment,

              excluding the UnitedHealth Defendants, any of their directors, and any

              officers or employees of the UnitedHealth Defendants with responsibility for

              the Plan’s investment or administrative function.

       147.   This action meets the requirements of Rule 23 and is certifiable as a class

action for the following reasons:

       a.     The Class includes tens of thousands of members and is so large that joinder

              of all its members is impracticable.

       b.     There are numerous questions of law and fact common to this Class because

              the UnitedHealth Defendants owed the same fiduciary duties to the Plan and

              to all participants and beneficiaries and took a common course of actions and

              omissions as alleged herein as to the Plan, and not as to any individual

              participant, that affected all Class members through their participation in the

              Plan in the same way. Thus, questions of law and fact common to the Class

              include, without limitation, the following: (i) whether each of the Defendants

              are fiduciaries liable for the remedies provided by 29 U.S.C. §1109(a); (ii)

              whether the fiduciaries of the Plan breached their fiduciary duties to the Plan

              by employing an imprudent process for monitoring and evaluating Plan

              investment options; (iii) whether the fiduciaries of the Plan breached their

              fiduciary duties to the Plan by failing to adhere to the Plan’s Investment

              Policy Statements; (iv) whether the fiduciaries of the Plan breached their
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             fiduciary duties to the Plan by failing to act for the exclusive benefit of Plan

             participants when retaining the Wells Fargo Target Fund Suite as a Plan

             investment; (v) whether the fiduciaries of the Plan engaged in prohibited

             transactions by retaining the Wells Fargo Target Fund Suite as a Plan

             investment; (vi) whether Plaintiff’s claims require similar inquiries and proof

             of the claims and therefore implicate the same set of concerns for all

             proposed members of the Class; (vii) what are the losses to the Plan resulting

             from each breach of fiduciary duty; and (viii) what Plan-wide equitable and

             other relief the Court should impose in light of the UnitedHealth Defendants’

             breach of duties.

      c.     Plaintiff’s claims are typical of the claims of the Class because Plaintiff was

             a participant during the Class Period and all participants in the Plan were

             harmed by the UnitedHealth Defendants’ misconduct.

      d.     Plaintiff is an adequate representative of the Class because she participated

             in the Plan during the Class Period, has no interest that conflicts with the

             Class, is committed to the vigorous representation of the Class, and has

             engaged experienced and competent attorneys to represent the Class.

      e.     There are no substantial individualized questions of law or fact among Class

             members on the merits of this Action.

      148.   Prosecution of separate actions for these breaches of fiduciary duties by

individual participants and beneficiaries would create the risk of inconsistent or varying

adjudications that would establish incompatible standards of conduct for the UnitedHealth
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Defendants in respect to the discharge of their fiduciary duties to the Plan and personal

liability to the Plan under 29 U.S.C. § 1109(a). Moreover, adjudications by individual

participants and beneficiaries regarding the alleged breaches of fiduciary duties, and

remedies for the Plan would, as a practical matter, be dispositive of the interests of the

participants and beneficiaries not parties to the adjudication or would substantially impair

or impede those participants’ and beneficiaries’ ability to protect their interests. Therefore,

this action should be certified as a class action under Rule 23(b)(1)(A) or (B).

       149.   Additionally, or in the alternative, certification under Rule 23(b)(2) is

appropriate because the UnitedHealth Defendants have acted or refused to act on grounds

that apply generally to the Class, so that final injunctive relief or corresponding declaratory

relief is appropriate respecting the Class as a whole. Plaintiff seeks reformation of the Plan

to make it a more viable retirement investment option, which will benefit her and other

Plan participants.

       150.   Additionally, or in the alternative, this action may be certified as a Class

under Rule 23(b)(3). A class action is the superior method for the fair and efficient

adjudication of this controversy because joinder of all participants and beneficiaries is

impracticable, the losses suffered by individual participants and beneficiaries may be small

and it is impracticable for individual members to enforce their rights through individual

actions, and the common questions of law and fact predominate over individual questions.

Given the nature of the allegations, no Class member has an interest in individually

controlling the prosecution of this matter, and Plaintiff is aware of no difficulties likely to

be encountered in the management of this matter as a class action.
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       151.   Additionally, or alternatively, this action may be certified as to particular

issues under Rule 23(c)(4), including but not limited to the UnitedHealth Defendants’

liability to the Class for their allegedly imprudent and disloyal conduct.

       152.   Plaintiff’s counsel will fairly and adequately represent the interests of the

Class and is best able to represent the interests of the Class under Rule 23(g).

       X.     CAUSES OF ACTION

                                         COUNT I

Breach of Duty of Prudence by Failing to Remove Imprudent Investments from the
            Plan Within a Reasonable Time During the Class Period

                         (Violation of ERISA, 29 U.S.C. § 1104)
                         (Against All UnitedHealth Defendants)

       153.   All allegations set forth in the Complaint are realleged and incorporated

herein by reference.

       154.   UnitedHealth used the Plan as a strategic and financial benefit to recruit and

retain workers.

       155.   In joining UnitedHealth and subsequently enrolling in the Plan, employees

trusted and relied on UnitedHealth’s resources and expertise to construct and maintain a

state-of-the-art 401(k) plan.

       156.   At all relevant times during the Class Period, the UnitedHealth Defendants

acted as fiduciaries within the meaning of 29 U.S.C. § 1002(21)(A) by exercising authority

and control with respect to the management of the Plan and its assets.

       157.   29 U.S.C. § 1104(a)(1)(B) requires a plan fiduciary to act with the “care,

skill, prudence and diligence under the circumstances then prevailing that a prudent man

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acting in a like capacity and familiar with such matters would use in the conduct of an

enterprise of a like character and with like aims.”

       158.   Thus, the scope of the fiduciary duties and responsibilities of the

UnitedHealth Defendants includes administering the Plan with the care, skill, diligence,

and prudence required by ERISA. UnitedHealth Defendants are responsible for evaluating

and monitoring the Plan’s investments on an ongoing basis, eliminating imprudent

investments, and taking all necessary steps to ensure the Plan’s assets are invested

prudently.

       159.   The UnitedHealth Defendants breached their fiduciary duties through an

imprudent process for investigating, evaluating, and monitoring investments. The faulty

process resulted in a plan loaded with a suite of target date funds—the Wells Fargo Target

Fund Suite—that has exhibited chronic poor performance for a decade. UnitedHealth

Defendants failed to remove the Wells Fargo Target Fund Suite with a reasonable time

despite historical underperformance relative to other target date collective investment trusts

and relevant benchmark indices.

       160.   By failing to adequately consider better-performing investment products for

the Plan, the UnitedHealth Defendants failed to discharge their duties with the care, skill,

prudence, and diligence that a prudent fiduciary acting in a like capacity and familiar with

such matters would use in the conduct of an enterprise of like character and with like aims.

       161.   The UnitedHealth Defendants’ breach of fiduciary duty has substantially

impaired the Plan’s use, its value, and its investment performance for all Class Members.



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       162.    As a direct and proximate result of the UnitedHealth Defendants’ breaches

of fiduciary duty, the Plan and its participants who invested in the Wells Fargo Target Fund

Suite have suffered hundreds of millions of dollars of damages and lost-opportunity costs

which continue to accrue and for which the UnitedHealth Defendants are jointly and

severally liable pursuant to 29 U.S.C. §§ 1132(a)(2), 1132(a)(3), and 1109(a).

       163.    Each of the UnitedHealth Defendants is liable to make good to the Plan the

losses resulting from the aforementioned breaches, to restore to the Plan any profits

resulting from the breaches of fiduciary duties alleged in this Count, and are subject to

other equitable or remedial relief as appropriate.

       164.    Each UnitedHealth Defendant also participated in the breach of the other

UnitedHealth Defendants, knowing that such acts were a breach, and enabled the other

UnitedHealth Defendants to commit a breach by failing to lawfully discharge its own

fiduciary duties. Each UnitedHealth Defendant knew of the breach by the other

UnitedHealth Defendants yet failed to make any reasonable effort under the circumstances

to remedy the breach. Thus, each UnitedHealth Defendant is liable for the losses caused by

the breach of its co-fiduciary duties under 29 U.S.C. § 1105(a).

                                        COUNT II

              Failure to Act in Accordance with Governing Plan Documents
                    (Violation of ERISA, 29 U.S.C. § 1104(a)(1)(D))
                        (Against All UnitedHealth Defendants)

       165.    All allegations set forth in the Complaint are realleged and incorporated

herein by reference.


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       166.   At all relevant times during the Class Period, the UnitedHealth Defendants

acted as fiduciaries within the meaning of 29 U.S.C. § 1002(21)(A) by exercising authority

and control with respect to the management of the Plan and its assets.

       167.   As fiduciaries, the UnitedHealth Defendants were required to act in

accordance with the documents and instruments governing the Plan, so long as those

documents and instruments were consistent with ERISA.

       168.   The UnitedHealth Defendants adopted a series of Investment Policy

Statements that were in effect during the Class Period. The various Investment Policy

Statements were in effect from January 1, 2012 to May 30, 2018, from May 30, 2018 to

December 18, 2019, from December 18, 2019 to December 17, 2020, and from December

17, 2020 to present. Each Investment Policy Statement set forth the objectives of the Plan

and set forth ERISA-compliant the policies and criteria to use in selecting, monitoring, and

evaluating the Plan’s investment options. At all relevant times during the Class Period,

each Investment Policy Statement was a document or instrument governing the Plan within

the meaning of 29 U.S.C. § 1106(a)(1)(D).

       169.   During the Class Period, all versions of the Plan’s Investment Policy

Statement required, among other things, that the Plan’s investments have: (a) a history of

reliability and a sound financial background; (b) competitive investment performance

compared to the investment’s stated benchmark and peer group universe; and (c) a history

of adherence to the fund’s stated investment approach. The Investment Policy Statement

in effect until May 30, 2018, further directed that each fund’s investment returns should



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equal or exceed the appropriate benchmark and peer group median and should compare

favorably to its established benchmarks and peer groups over all market cycles.

       170.   But the retention of the Wells Fargo Target Fund Suite met none of these

criteria set forth in the Plan’s Investment Policy Statements. For years, the Wells Fargo

Target Fund Suite underperformed both its designated benchmark and peer group universe.

Wells Fargo lacked a history of sound financial conduct and instead was embroiled in

repeated scandals that resulted in multiple leadership shakeups and over $100 million in

fines by multiple governmental entities by 2016. In addition, Wells Fargo did not have a

history of adherence to its stated investment approach; it repeatedly changed its portfolio

management team during the Class Period, and in 2017 it implemented an untested

investment strategy managed by a team that lacked relevant experience; indeed, the team

had relatively little experience managing target date funds or the type of small cap,

emerging markets, or international funds included in the Wells Fargo Target Date Suite.

       171.   Until May 30, 2018, the Investment Policy Statement also set forth criteria

for the review or replacement of the Plan’s investment options, which included, inter alia:

(a) failure to perform above the median of the fund’s peer group universe, (b) changes in

the fund’s management personnel, (c) changes in the fund’s investment strategy, (d)

significant changes in the investment fund company and investment manager, and (e)

material litigation or fraud. The Wells Fargo Target Fund Suite met each of these criteria

for replacement by: (a) chronically performing far below the median of its peer group

universe, (b) replacing its portfolio management team in 2015 and again in 2017, (c)

changing its glidepath and stated investment strategy in 2015 and again in 2017, (d)
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replacing the CEO of Wells Fargo Asset Management, which ran the Wells Fargo Target

Fund Suite, and the CEO of parent-company Wells Fargo in 2016, and (e) becoming the

subject of material litigation for engaging in fraud and other illegal practices, which

resulted in hundreds of millions of dollars in class action settlements and government fines.

       172.   By retaining the Wells Fargo Target Fund Suite, the UnitedHealth

Defendants failed to discharge their duties in accordance with the Plan’s governing

Investment Policy Statement. As a direct and proximate result of the UnitedHealth

Defendants’ failure to act in accordance with the Investment Policy Statement, the Plan

and its participants who invested in the Wells Fargo Target Fund Suite have suffered

hundreds of millions of dollars of damages and lost-opportunity costs for which the

UnitedHealth Defendants are jointly and severally liable pursuant to 29 U.S.C. §§

1132(a)(2), 1132(a)(3), and 1109(a).

       173.   Each of the UnitedHealth Defendants is liable to make good to the Plan the

losses resulting from the aforementioned breaches, to restore to the Plan any profits

resulting from the breaches of fiduciary duties alleged in this Count, and are subject to

other equitable or remedial relief as appropriate.

       174.   Each UnitedHealth Defendant also participated in the breach of the other

UnitedHealth Defendants, knowing that such acts were a breach, and enabled the other

UnitedHealth Defendants to commit a breach by failing to lawfully discharge its own

fiduciary duties. Each UnitedHealth Defendant knew of the breach by the other

UnitedHealth Defendants yet failed to make any reasonable effort under the circumstances



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to remedy the breach. Thus, each UnitedHealth Defendant is liable for the losses caused by

the breach of its co-fiduciary duties under 29 U.S.C. § 1105(a).

                                        COUNT III

     Breach of Duty of Loyalty by Retaining the Wells Fargo Target Fund Suite
                         (Violation of ERISA, 29 U.S.C. § 1104)
                         (Against All UnitedHealth Defendants)

       175.   All allegations set forth in the Complaint are realleged and incorporated

herein by reference.

       176.   As fiduciaries, the UnitedHealth Defendants were required to act solely in

the interest of the Plan’s participants and beneficiaries, and for the exclusive purpose of

providing benefits to the Plan’s participants and beneficiaries.

       177.   The UnitedHealth Defendants failed to engage in a loyal decision-making

process for selecting and retaining a target date fund suite for the Plan.

       178.   UnitedHealth had a lucrative business relationship with Wells Fargo, which

served as UnitedHealth’s banker, lender, underwriter, and bookrunner.

       179.   These financial entanglements constituted a clear conflict and engendered

divided loyalty on the part of the UnitedHealth Defendants when considering whether to

retain the Wells Fargo Target Fund Suite as the Plan’s target date provider. In the face of

such conflict, the UnitedHealth Defendants were obligated to take steps to ensure they

acted with an eye single towards the interests of the Plan participants and beneficiaries.

       180.   The UnitedHealth Defendants failed to take steps to ensure their decision was

free of conflict, and instead selected the Plan’s target date suite based in whole or in part

on advancing UnitedHealth’s interests. Rather than considering only the interests of the
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Plan and its participants, the UnitedHealth Defendants scrutinized each target date

candidate’s business relationships with UnitedHealth. After doing so, they engaged in a

sudden about-face, jettisoned the results of a multi-year process that excluded Wells Fargo

from consideration to serve as the Plan’s target date provider, replaced members of the

Investment Committee with UnitedHealth executives, and sidelined their independent

investment consultant, Mercer, from their decision-making process.

       181.   At the bidding of UnitedHealth’s executive leadership, including CFO John

Rex, the UnitedHealth Defendants selected the untested Wells Fargo Target Fund Suite,

despite the Suite’s history of underperformance and the ready availability of superior

investment alternatives. In deciding to retain Wells Fargo, the Investment Committee

explicitly referenced UnitedHealth’s business relationships with Wells Fargo as a

consideration and faulted the candidate that scored highest on the Investment Committee’s

selection criteria because that candidate lacked such a business relationship.

       182.   The UnitedHealth Defendants only decided to remove the Wells Fargo

Target Fund Suite for good after Wells Fargo announced that it was selling off the funds,

when the decision would not upset their key business partner.

       183.   Through these actions, the UnitedHealth Defendants failed to discharge their

duties with respect to the Plan solely in the interest of the Plan’s participants and

beneficiaries, and for the exclusive purpose of providing benefits to the Plan’s participants

and beneficiaries in violation of 29 U.S.C. § 1104(a).

       184.   The UnitedHealth Defendants’ breach of fiduciary duty has substantially

impaired the Plan’s use, its value, and its investment performance for all Class Members.
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       185.   As a direct and proximate result of the UnitedHealth Defendants’ breaches

of fiduciary duty, the Plan and its participants who invested in the Wells Fargo Target Fund

Suite have suffered hundreds of millions of dollars of damages and lost-opportunity costs

which continue to accrue and for which the UnitedHealth Defendants are jointly and

severally liable pursuant to 29 U.S.C. §§ 1132(a)(2), 1132(a)(3), and 1109(a).

       186.   Each of the UnitedHealth Defendants is liable to make good to the Plan the

losses resulting from the aforementioned breaches, to restore to the Plan any profits

resulting from the breaches of fiduciary duties alleged in this Count, and are subject to

other equitable or remedial relief as appropriate.

       187.   Each UnitedHealth Defendant also participated in the breach of the other

UnitedHealth Defendants, knowing that such acts were a breach, and enabled the other

UnitedHealth Defendants to commit a breach by failing to lawfully discharge its own

fiduciary duties. Each UnitedHealth Defendant knew of the breach by the other

UnitedHealth Defendants yet failed to make any reasonable effort under the circumstances

to remedy the breach. Thus, each UnitedHealth Defendant is liable for the losses caused by

the breach of its co-fiduciary duties under 29 U.S.C. § 1105(a).

                                        COUNT IV

                                 Prohibited Transactions
              (Violation of ERISA, 29 U.S.C. §§ 1106(a)(1)(D), 1106(b)(1))
                         (Against All UnitedHealth Defendants)

       188.   All allegations set forth in the Complaint are realleged and incorporated

herein by reference.


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       189.    The UnitedHealth Defendants’ retention of the Wells Fargo Target Fund

Suite constitutes a prohibited transaction under 29 U.S.C. § 1106(a)(1)(D) and §

1106(b)(1).

       190.    At all relevant times during the Class Period, the UnitedHealth Defendants

acted as fiduciaries within the meaning of 29 U.S.C. § 1002(21)(A) by exercising authority

and control with respect to the management of the Plan and its assets.

       191.    As fiduciaries, the UnitedHealth Defendants were prohibited from causing

the Plan to engage in any transaction that they knew, or should have known, would

constitute a direct or indirect transfer of plan assets to a party in interest, for use by a party

in interest, or to use for the benefit of a party in interest.

       192.    The UnitedHealth Defendants selected the Wells Fargo Target Fund Suite

and transferred billions of dollars of plan assets to Wells Fargo for use by and for the benefit

of Wells Fargo. Wells Fargo was able to use Plan assets to attempt to rebuild its failing

target date business and establish a record of assets in investment strategies where Wells

Fargo had no previous record of business. This transfer of assets to Wells Fargo was also

done for the benefit of UnitedHealth and its business relationship with Wells Fargo.

       193.    The UnitedHealth Defendants knew or should have known that the decision

to select the Wells Fargo Target Fund Suite and cause Plan assets to be delivered to Wells

Fargo constituted a prohibited transaction in violation of 29 U.S.C. § 1106(a)(1)(D).

       194.    As fiduciaries, the UnitedHealth Defendants were also prohibited from

dealing with the assets of the Plan in their own interest or for their own account. By

selecting the Wells Fargo Target Fund Suite in whole or in part to further UnitedHealth’s
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business interests and business relationship with Wells Fargo, the UnitedHealth

Defendants engaged in a prohibited transaction in violation of 29 U.S.C. § 1106(b)(1).

       195.    As a direct and proximate result of these prohibited transactions, the Plan and

its participants who invested in the Wells Fargo Target Fund Suite have suffered hundreds

of millions of dollars of damages and lost-opportunity costs for which the UnitedHealth

Defendants are jointly and severally liable pursuant to 29 U.S.C. §§ 1132(a)(2), 1132(a)(3),

and 1109(a).

       196.    Each of the UnitedHealth Defendants is liable to make good to the Plan the

losses resulting from the aforementioned breaches, to restore to the Plan any profits

resulting from the breaches of fiduciary duties alleged in this Count, and are subject to

other equitable or remedial relief as appropriate.

                                         COUNT V

                                    Failure to Monitor

                         (Against All UnitedHealth Defendants)

       197.    All allegations set forth in the Complaint are realleged and incorporated

herein by reference.

       198.    The UnitedHealth Defendants had a duty to monitor the performance of each

individual to whom they delegated any fiduciary responsibilities. A monitoring fiduciary

must ensure that the monitored fiduciaries are performing their fiduciary obligations,

including those with respect to the investment and holding of Plan assets, and must take

prompt and effective action to protect the Plan and participants when they are not.



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      199.   To the extent any of the UnitedHealth Defendant’s fiduciary responsibilities

were delegated to another fiduciary, the UnitedHealth Defendant’s monitoring duty

included an obligation to ensure that any delegated tasks were being performed prudently,

loyally, and in compliance with governing Plan documents.

      200.   The UnitedHealth Defendants breached their fiduciary monitoring duties by,

among other things:

      a.     failing to monitor their appointees, to evaluate their performance, or to have

             a system in place for doing so, and standing idly by as the Plan suffered

             enormous losses as a result of their appointees’ actions and omissions in

             violation of ERISA with respect to the Plan;

      b.     failing to monitor their appointees’ fiduciary process, which was imprudent,

             ridden with conflicts, and ignored governing Plan documents;

      c.     failing to ensure that the monitored fiduciaries had a prudent process in place

             for evaluating and ensuring that investment options were prudent and

             selected in compliance with the Plan’s Investment Policy Statement;

      d.     failing to ensure that the monitored fiduciaries had a conflict-free process in

             place for evaluating and ensuring that investment options were selected

             solely in the interests of Plan participants and did not constitute prohibited

             transactions; and

      e.     failing to remove appointees whose performance was inadequate in that they

             continued to allow investment options that were imprudent and otherwise



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             violated ERISA to remain in the Plan, to the detriment of Plan participants’

             retirement savings.

      201.   Each fiduciary who delegated its fiduciary responsibilities likewise breached

its fiduciary monitoring duty by, among other things:

                   a.     failing to monitor their appointees, to evaluate their

                          performance, or to have a system in place for doing so, and

                          standing idly by as the Plan suffered enormous losses as a result

                          of their appointees’ actions and omissions in violation of

                          ERISA with respect to the Plan;

                   b.     failing to monitor their appointees’ fiduciary process, which

                          was imprudent, ridden with conflicts, and ignored governing

                          Plan documents;

                   c.     failing to ensure that the monitored fiduciaries had a prudent

                          process in place for evaluating and ensuring that investment

                          options were prudent and selected in compliance with the Plan’s

                          Investment Policy Statement;

                   d.     failing to ensure that the monitored fiduciaries had a conflict-

                          free process in place for evaluating and ensuring that investment

                          options were selected solely in the interests of Plan participants

                          and did not constitute prohibited transactions; and

                   e.     failing to remove appointees whose performance was

                          inadequate in that they continued to allow investment options
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                              that were imprudent and otherwise violated ERISA to remain in

                              the Plan, to the detriment of Plan participants’ retirement

                              savings.

       202.     As a direct result of these breaches of the fiduciary duty to monitor, the Plan

suffered substantial losses. Had UnitedHealth and the other delegating fiduciaries

discharged their fiduciary monitoring duties, the Plan would not have suffered these losses.

                                    PRAYER FOR RELIEF

       For these reasons, Plaintiff, on behalf of the Plan and all similarly situated Plan

participants and beneficiaries, respectfully requests that the Court:

       i)     find and adjudge that the UnitedHealth Defendants have breached their

              fiduciary duties, as described above;

       ii)    find and adjudge that the UnitedHealth Defendants are personally liable to

              make good to the Plan the losses to the Plan resulting from each breach of

              fiduciary duty, and to otherwise restore the Plan to the position it would have

              occupied but for the breaches of fiduciary duty;

       iii) order the UnitedHealth Defendants to make good to the Plan the losses

              resulting from each breach of fiduciary duty and to restore to the Plan any

              profits resulting from each breach of fiduciary duty;

       iv) find and adjudge that the UnitedHealth Defendants are liable to the Plan for

              appropriate equitable relief, including but not limited to restitution and

              disgorgement;



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v)   determine the method by which Plan losses under 29 U.S.C. § 1109(a) should

     be calculated;

vi) order the UnitedHealth Defendants to provide all accountings necessary to

     determine the amounts Defendants must make good to the Plan under 29

     U.S.C.§ 1109(a);

vii) remove the fiduciaries who have breached their fiduciary duties and enjoin

     them from future ERISA violations;

viii) impose surcharge against the UnitedHealth Defendants and in favor of the Plan

     all amounts involved in any transactions which such accounting reveals were

     improper, excessive, and/or in violation of ERISA;

ix) reform the Plan to include only prudent investments;

x)   certify the Class, appoint the Plaintiff as a class representative, and appoint

     Sanford Heisler Sharp, LLP as Class Counsel;

xi) award to the Plaintiff and the Class their attorney’s fees and costs under 29

     U.S.C. § 1132(g)(1) and the common fund doctrine;

xii) order the UnitedHealth Defendants to pay interest to the extent allowed by law;

     and

xiii) grant such other equitable or remedial relief as the Court deems appropriate.




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Date: August 24, 2022              Respectfully submitted,


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